Case 07-04977-LT7                Filed 06/13/18      Entered 06/13/18 15:00:04   Doc 1276   Pg. 1 of
                                                        63

                                   UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF CALIFORNIA


  In re:                                                 §    Case No. 07-04977-LT7
                                                         §
  CREATIVE CAPITAL LEASING                               §
  GROUP LLC                                              §
                                                         §
                      Debtor(s)                          §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Leslie T. Gladstone, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $40,605,857.00                 Assets Exempt:      NA
(without deducting any secured claims)



Total Distributions to                                       Claims Discharged
Claimants:                           $714,637.58             Without Payment:    NA

Total Expenses of
Administration:                      $3,201,906.30


       3)      Total gross receipts of $3,942,743.88 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $26,200.00 (see Exhibit 2), yielded net receipts of $3,916,543.88
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18    Entered 06/13/18 15:00:04      Doc 1276      Pg. 2 of
                                                      63

                                       CLAIMS           CLAIMS           CLAIMS             CLAIMS
                                     SCHEDULED         ASSERTED         ALLOWED              PAID
  Secured Claims
  (from Exhibit 3)                      $19,314.37     $50,715,934.1       $16,662.58        $16,662.58
                                                                   8
  Priority Claims:
     Chapter 7 Admin.
     Fees and Charges                             NA   $3,019,978.12    $3,019,805.03      $3,135,002.4
      (from Exhibit 4)                                                                                5
     Prior Chapter Admin.
     Fees and Charges                             NA     $66,903.85        $66,903.85        $66,903.85
     (from Exhibit 5)
     Priority Unsecured
     Claims                               $2,797.90      $38,711.84        $37,842.11        $38,493.18
     (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)            $63,782,361.81    $24,659,613.8    $20,196,906.9       $659,481.82
                                                                   4                2

                                     $63,804,474.08    $78,501,141.8    $23,338,120.4      $3,916,543.8
    Total Disbursements                                            3                9                 8

       4). This case was originally filed under chapter 11 on 09/10/2007. The case was
  converted to one under Chapter 7 on 10/10/2008. The case was pending for 115 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 05/21/2018                                By: /s/ Leslie T. Gladstone
                                                          /Le Trustee
                                                          slie
                                                          T.
                                                          Gla
                                                          dsto
                                                          ne
  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18    Entered 06/13/18 15:00:04   Doc 1276    Pg. 3 of
                                                      63

                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                UNIFORM                 AMOUNT
                                                                  TRAN. CODE              RECEIVED
CREATIVE CAPITAL V. ROBY                                           1121-000                $79,928.76
TAX REFUND                                                         1129-000                  $751.13
4651 120th Avenue S., Lake Worth, Florida 33461                    1210-000                $50,000.00
BROWN COUNTY SALE                                                  1210-000                $70,038.74
DEED OF TRUST FOR 6739 MORELLA AVE., NORTH                         1210-000                $35,000.00
HOLLYWOOD, CA 91606 (BLOCK)
STENTZ DEED OF TRUST                                               1210-000                $30,000.00
ACCOUNTS REC                                                       1221-000                 $2,453.20
COIT SETTLEMENT                                                    1221-000               $100,000.00
E&F SEPTIC SETTLEMENT                                              1221-000                $12,000.00
HAZLEY LEASE                                                       1221-000                $50,000.00
HERNANDEZ FORECLOSURE                                              1221-000                $30,100.00
STATE OF CALIF. UNCLAIMED PROPERTY FUND                            1221-000                  $139.37
UNCLAIMED FUNDS FROM STATE CONTROLLER                              1221-000                 $5,239.19
VENDOR REFUND                                                      1221-000                 $4,205.73
2013 TAX REFUND                                                    1224-000                 $6,000.00
DIP ACCOUNT                                                        1229-000               $147,022.95
DIP ACCOUNT 2180056826                                             1229-000                 $1,109.71
DIP ACCOUNT 2180056990                                             1229-000                $79,286.49
DIP ACCT 2180056796                                                1229-000                $18,920.00
DIP ACCT 2180057075                                                1229-000                 $2,826.49
EUCOPLY SETTLEMENT                                                 1229-000                $20,000.00
HSBC SETTLEMENT                                                    1229-000                 $9,217.15
LUBRON SETTLEMENT                                                  1229-000               $150,000.00
LYNCO SETTLEMENT                                                   1229-000                $60,000.00
TRI-VALLEY TOWING SETTLEMENT                                       1229-000                $25,000.00
ULTRASOUND EQUIP                                                   1229-000                 $8,500.00
ACE SETTLEMENT                                                     1241-000                $14,800.00
AMERICAN EXPRESS SETTLEMENT                                        1241-000               $625,000.00
ASHTON SETTLEMENT                                                  1241-000                $15,000.00
BANK OF AMERICA SETTLEMENTAdv. 09-90457                            1241-000               $475,000.00
BANK OF JERUSALEM SETTLEMENT                                       1241-000                $45,000.00
BMW SETTLEMENT                                                     1241-000                $11,500.00
CDW SETTLEMENT                                                     1241-000                $11,400.00
CHASE SETTLEMENT                                                   1241-000               $150,000.00
Creative Capital v. DiNunzio; Adv. No. 05-90358                    1241-000                $18,000.00
DINUNZIO SETTLEMENT                                                1241-000               $103,347.11

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18    Entered 06/13/18 15:00:04              Doc 1276          Pg. 4 of
                                                      63

EMIL'S AUTO BODY SETTLEMENT                                               1241-000                          $20,000.00
GLADSTONE V. CALIFORNIA BANK & TRUST                                      1241-000                          $79,897.50
Gladstone v. Citibank, NA; Adv. No. 09-90456                              1241-000                         $325,000.00
SETTLEMENT-First Bank and Trust Company of Illinois,                      1241-000                         $437,500.00
Southport Properties, LLC, Linda Winick and Adrian Winick
(Adv. Pro
STANFORD PREFERENCE SETTLEMENT                                            1241-000                          $17,500.00
WELLS FARGO LITIGATION                                                    1241-000                         $219,500.00
SETTLEMENTSADVERSARY NOS. 09-90454
FIRST AMERICAN TITLE COMPANY (mediation pending)                          1249-000                         $366,197.00
LITIGATION SETTLEMENT                                                     1249-000                              $13.37
PETRICH SETTLEMENT                                                        1249-000                          $10,000.00
Post-Petition Interest Deposits                                           1270-000                             $349.99
TOTAL GROSS RECEIPTS                                                                                      $3,942,743.88

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

               PAYEE                                 DESCRIPTION                       UNIFOR               AMOUNT
                                                                                          M                    PAID
                                                                                        TRAN.
                                                                                        CODE
ARTES MEDICAL                           Funds to Third Parties                         8500-000             $26,200.00
TOTAL FUNDS PAID TO                                                                                         $26,200.00
DEBTOR AND THIRD PARTIES


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT              UNIFORM             CLAIMS            CLAIMS   CLAIMS                  CLAIMS
NUMBER                               TRAN. CODE        SCHEDULED          ASSERTED ALLOWED                     PAID
     21       ALLEGIS                  4110-000                  $0.00       $1,946.00            $0.00           $0.00
              RESIDENTIAL
              SERVICES
     43       CALIFORNIA               4110-000                  $0.00    $394,945.74             $0.00           $0.00
              BANK & TRUST
     47       U.S. BANK                4110-000            $19,314.37 $48,586,672.4               $0.00           $0.00
              NATIONAL                                                            7
              ASSOCIATION
     61       SHLOMO AND               4110-000                  $0.00    $393,049.00             $0.00           $0.00
              VICTORIA
              BENDERLY
              FAMILY
     62       YAACOV S.                4110-000                  $0.00    $824,177.00             $0.00           $0.00
              LIBERMAN
              AND LEA
              LIBERMAN
     78       AUSTIN                   4110-000                  $0.00    $150,950.00             $0.00           $0.00
              MCBRIDE
              CORP
UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18   Entered 06/13/18 15:00:04          Doc 1276      Pg. 5 of
                                                     63

     79       BRETT                    4110-000            $0.00      $75,282.00           $0.00         $0.00
              SCHAFFTER
     94       FOSTER                   4110-000            $0.00    $240,606.17            $0.00         $0.00
              PEPPER PLLC
    121       WASHINGTON               4110-000            $0.00      $31,643.22           $0.00         $0.00
              COUNTY
              TREASURER
              BROWN                    4700-000            $0.00      $15,862.58      $15,862.58    $15,862.58
              COUNTY
              TREASURER
              FRANCHISE                4800-000            $0.00        $800.00          $800.00      $800.00
              TAX BOARD
TOTAL SECURED CLAIMS                                   $19,314.37 $50,715,934.1       $16,662.58    $16,662.58
                                                                              8


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE               UNIFORM                   CLAIMS   CLAIMS            CLAIMS               CLAIMS
                          TRAN. CODE              SCHEDULED ASSERTED          ALLOWED                  PAID
Leslie T. Gladstone          2100-000                    NA    $15,274.00          $15,274.00      $141,532.32
Fees, Trustee
Leslie T. Gladstone          2200-000                    NA     $2,937.92           $2,937.92        $2,937.93
Expenses, Trustee
FINANCIAL LAW                2300-000                    NA     $6,838.33           $6,838.33        $6,838.33
GROUP
FINANCIAL LAW                2300-000                    NA     $2,079.20           $2,079.20        $2,079.20
GROUP .
INTERNATIONAL                2300-000                    NA        $376.96           $376.96          $376.96
SURETIES
A1 SELF STORAGE              2420-000                    NA        $742.50           $742.50          $742.50
BANK OF                      2600-000                    NA     $1,496.56           $1,496.56        $1,496.56
AMERICA
East West Bank               2600-000                    NA    $44,162.64          $44,162.64       $44,162.64
PREFERRED BANK               2600-000                    NA     $2,900.34           $2,900.34        $2,900.34
UNION BANK                   2600-000                    NA     $4,296.54           $4,296.54        $4,296.54
FINANCIAL LAW                2820-000                    NA        $800.00           $800.00          $800.00
GROUP
BROWN COUNTY                 2820-000                    NA        $616.28           $616.28          $616.28
WIRE TRANSFER
Franchise Tax Board          2820-000                    NA        $100.00           $100.00             $0.00
FRANCHISE TAX                2820-000                    NA    $23,600.00          $23,600.00       $23,600.00
BOARD
INTERNAL                     2820-000                    NA     $1,301.07           $1,301.07        $1,301.07
REVENUE SERVICE
MARICOPA                     2820-000                    NA    $15,360.62          $15,360.62       $15,360.62
COUNTY
TREASURER
SECRETARY OF                 2820-000                    NA         $20.00            $20.00           $20.00
STATE
UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18   Entered 06/13/18 15:00:04      Doc 1276     Pg. 6 of
                                                     63

Clerk, US Bankruptcy         2820-001                    NA         $0.00          $0.00       $2,066.87
Court (Claim No.127;
FRANCHISE TAX
BOARD)
Office of U.S. Trustee       2950-000                    NA    $15,275.00     $15,275.00      $15,275.00
BANK OF                      2990-000                    NA       $95.60          $95.60          $95.60
AMERICA
CALIFORNIA BANK              2990-000                    NA      $599.20         $599.20         $599.20
& TRUST
ESQUIRE                      2990-000                    NA     $3,297.55      $3,297.55       $3,297.55
FRANCHISE TAX                2990-000                    NA       $20.00          $20.00          $20.00
BOARD
ISRAEL                       2990-000                    NA      $740.00         $740.00         $740.00
INVESTIGATORS
SHELBURNE                    2990-000                    NA     $3,502.37      $3,502.37       $3,502.37
SHERR COURT
REPORTERS
WELLS FARGO                  2990-000                    NA      $200.40         $200.40         $200.40
WELLS FARGO                  2990-000                    NA      $217.20         $217.20         $217.20
BANK
FINANCIAL LAW                3110-000                    NA     $4,272.50      $4,272.50       $4,272.50
GROUP - CC           ,
Attorney for Trustee
FINANCIAL LAW                3110-000                    NA      $612.50         $612.50         $945.00
GROUP - SY           ,
Attorney for Trustee
 FINANCIAL LAW               3110-000                    NA      $227.50         $227.50         $227.50
GROUP - UP TO
AWARD , Attorney
for Trustee
FINANCIAL LAW                3110-000                    NA   $175,612.00    $175,612.00     $169,782.50
GROUP - CAB          ,
Attorney for Trustee
FINANCIAL LAW                3110-000                    NA     $4,432.50      $4,432.50       $4,432.50
GROUP - LTG          ,
Attorney for Trustee
FINANCIAL LAW                3110-000                    NA     $3,867.50      $3,867.50       $5,567.50
GROUP - MN,
Attorney for Trustee
FINANCIAL LAW                3120-000                    NA      $974.51         $974.51         $872.11
GROUP - EXPENSES
, Attorney for Trustee
CLARK AND                    3210-000                    NA     $3,055.50      $3,055.50       $3,055.50
CLARK AND
ASSOC, Attorney for
Trustee
Gordon & Rees,               3210-000                    NA $1,087,868.7    $1,087,868.78   $1,087,868.78
Attorney for Trustee                                                   8
JAFFE RAITT                  3210-000                    NA    $10,692.00     $10,692.00      $10,692.00
HEUER & WEISS,
Attorney for Trustee

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18   Entered 06/13/18 15:00:04     Doc 1276   Pg. 7 of
                                                     63

Mintz Levin, Attorney        3210-000                    NA   $777,904.50   $777,904.50    $777,904.50
for Trustee
Sean C. Coughlin,            3210-000                    NA    $49,296.00     $49,296.00    $49,296.00
Attorney for Trustee
Gordon & Rees                3220-000                    NA    $32,747.35     $32,577.99    $32,577.99
Expenses, Attorney
for Trustee
JAFFE, RAITT,                3220-000                    NA      $457.00        $457.00       $457.00
HEUER & WEISS,
Attorney for Trustee
Mintz Levin, Attorney        3220-000                    NA    $51,197.29     $51,197.29    $51,197.29
for Trustee
SEAN C.                      3220-000                    NA     $2,815.70      $2,814.94     $2,814.94
COUGHLIN,
Attorney for Trustee
AUCTION                      3610-000                    NA      $850.00        $850.00       $850.00
COMMISSION,
Auctioneer for Trustee
AUCTION                      3620-000                    NA      $469.00        $469.00       $469.00
EXPENSES,
Auctioneer for Trustee
HIGGS FLETCHER               3721-000                    NA    $18,412.59     $18,412.59     $9,284.21
& MACK,
Arbitrator/Mediator
for Trustee
CORPORATE                    3731-000                    NA   $639,844.10   $639,889.44    $639,889.44
RECOVERY
ASSOCIATES,
Consultant for Trustee
JAG                          3731-000                    NA     $1,496.85      $1,496.85     $1,496.85
INVESTIGATIONS
AND LEGAL,
Consultant for Trustee
CORPORATE                    3732-000                    NA     $2,261.03      $2,212.72     $2,212.72
RECOVERY
ASSOCIATES CH. 7
EXPENSES,
Consultant for Trustee
AMERICAN                     3991-000                    NA      $456.40        $456.40       $456.40
EXPRESS, Other
Professional
BLUM & CLARK,                3991-000                    NA       $75.44         $75.44        $75.44
Other Professional
CITIBANK NA,                 3991-000                    NA       $19.30         $19.30        $19.30
Other Professional
FIRST REPUBLIC               3991-000                    NA      $320.30        $320.30       $320.30
BANK, Other
Professional
JP MORGAN                    3991-000                    NA      $763.00        $763.00       $763.00
CHASE, Other
Professional
LYNETTE ALVES,               3991-000                    NA       $29.10         $29.10        $29.10

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18   Entered 06/13/18 15:00:04          Doc 1276        Pg. 8 of
                                                     63

Other Professional
STEWART                      3991-000                    NA     $1,019.15          $1,019.15          $1,019.15
FORECLOSURE
SERVICES, Other
Professional
TERIS, Other                 3991-000                    NA         $768.39          $768.39            $768.39
Professional
US BANK, Other               3991-000                    NA         $268.00          $268.00            $268.00
Professional
WELLS FARGO,                 3991-000                    NA          $42.06           $42.06             $42.06
Other Professional
TOTAL CHAPTER 7 ADMIN. FEES AND                          NA $3,019,978.1        $3,019,805.03      $3,135,002.45
CHARGES                                                                2


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

          PAYEE               UNIFORM                CLAIMS   CLAIMS                 CLAIMS           CLAIMS
                             TRAN. CODE           SCHEDULED ASSERTED               ALLOWED              PAID
Gordon & Rees Ch. 11              6210-000                 NA      $34,627.00       $34,627.00      $34,627.00
Fees, Attorney for
Trustee/D-I-P
JOHN SMAHA,                       6210-000                 NA      $17,948.36       $17,948.36      $17,948.36
Attorney for
Trustee/D-I-P
Gordon & Rees Ch. 11              6220-000                 NA       $4,314.65        $4,314.65        $4,314.65
Expenses, Attorney for
Trustee/D-I-P
JOHN SMAHA                        6220-000                 NA        $943.01           $943.01         $943.01
, Attorney for
Trustee/D-I-P
CORPORATE                         6410-000                 NA       $9,070.83        $9,070.83        $9,070.83
RECOVERY
ASSOCIATES CH. 11
FEES/EXPENSES,
Accountant for
Trustee/D-I-P
TOTAL PRIOR CHAPTER ADMIN. FEES                            NA      $66,903.85       $66,903.85      $66,903.85
AND CHARGES


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT              UNIFORM          CLAIMS          CLAIMS   CLAIMS                 CLAIMS
NUMBER                               TRAN. CODE     SCHEDULED        ASSERTED ALLOWED                    PAID
     10       INTERNAL                 5800-000            $0.00         $651.07           $0.00          $0.00
              REVENUE
              SERVICE
     27       VISTA                    5800-000            $0.00         $218.66           $0.00          $0.00
              PACIFICA
              BRUSH

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7                Filed 06/13/18   Entered 06/13/18 15:00:04       Doc 1276     Pg. 9 of
                                                     63

              MANAGEMENT
     85       ALAMEDA                  5800-000             $0.00     $3,846.58    $3,846.58    $3,846.58
              COUNTY TAX
              COLLECTOR
     97       NEW YORK                 5800-000             $0.00     $1,840.13    $1,840.13    $1,840.13
              STATE DEPT
              OF TAXATION
              OF
    98A       NEW YORK                 5800-000             $0.00       $29.27       $29.27       $29.27
              STATE DEPT
              OF TAXATION
              OF
   118B       STATE OF                 5800-000             $0.00     $6,982.82    $6,982.82    $6,982.82
              FLORIDA -
              DEPARTMENT
              OF REVENUE
    122       Department Of            5800-000             $0.00    $17,685.89   $17,685.89   $17,685.89
              Revenue/State Of
              Florida
    125       MONTGOMERY               5800-000             $0.00     $3,406.04    $3,406.04    $3,406.04
              COUNTY, MD
    128       Charles County           5800-000             $0.00     $3,225.01    $3,225.01    $3,225.01
    129       FRANCHISE                5800-000         $2,797.90      $826.37      $826.37      $826.37
              TAX BOARD
              US                       5800-001             $0.00         $0.00        $0.00     $651.07
              BANKRUPTCY
              COURT
TOTAL PRIORITY UNSECURED CLAIMS                         $2,797.90    $38,711.84   $37,842.11   $38,493.18


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT              UNIFORM          CLAIMS         CLAIMS   CLAIMS           CLAIMS
NUMBER                               TRAN. CODE     SCHEDULED       ASSERTED ALLOWED              PAID
     1        FEDEX                    7100-000          $538.32       $538.32      $538.32       $18.12
              CUSTOMER
              INFORMATION
              SERVICES
     2        BOSS, SHAUN              7100-000          $450.00       $450.00      $450.00       $15.15
     3        SOUTHLAND                7100-000          $299.18       $224.77      $224.77         $7.56
              ELECTRIC
     4        KREITZMAN,               7100-000        $35,000.00   $162,925.25        $0.00        $0.00
              SHELDON AND
              MARLYS
              FAMIL
     5        HOPPER                   7100-000         $4,221.09     $3,950.26    $3,950.26     $132.87
              SYSTEM''S INC.
     6        CORNELL,                 7100-000        $49,363.00    $50,596.00   $50,596.00    $1,701.90
              HOWARD
     7        GORDON                   7100-000          $445.00       $445.00      $445.00       $14.97
              TERHUNE
              PAINTING/MAI

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 10 of
                                                  63

              NTENACE
     8        PARMAS               7100-000              $0.00     $2,419.75     $2,419.75       $81.39
              LANDSCAPE
     9        ANDREA D             7100-000        $251,739.00   $242,278.88         $0.00        $0.00
              BELLANY
              TRUST
     11       Solomon,             7100-000              $0.00   $119,979.12   $119,979.12    $4,035.74
              Grindle, Lidstad
              & Wintringer,
              APC
     12       BOOTH,               7100-000              $0.00   $208,690.00         $0.00        $0.00
              GOLDYNNE
     13       KREITZMAN,           7100-000              $0.00   $162,925.25   $162,925.25    $5,480.32
              SHELDON AND
              MARLYS
              FAMIL
     14       GLAZER,              7100-000         $80,688.00    $82,820.06    $82,820.06    $2,785.82
              DAVID
     15       GLAZER,              7100-000              $0.00    $15,492.83    $15,492.83      $521.13
              MYRA
     16       LEONARD,             7100-000          $8,390.53     $8,459.49     $8,459.49        $0.00
              THOMAS G.
              US                   7100-001              $0.00         $0.00         $0.00      $284.55
              BANKRUPTCY
              COURT (Claim
              No. 16;
              LEONARD,
              THOMAS G.)
     17       ROBINSON &           7100-000          $1,792.78     $1,430.00     $1,430.00       $48.10
              ASSOCIATES
     18       GLAZER,              7100-000        $135,477.00    $78,699.47    $78,699.47    $2,647.21
              MYRA
     19       GLAZER,              7100-000              $0.00    $25,535.35    $25,535.35      $858.93
              MYRA
     20       GLAZER,              7100-000              $0.00    $21,951.95    $21,951.95      $738.40
              MYRA
     22       RANCHO               7100-000              $0.00        $75.76       $75.76         $0.00
              CALIF. WATER
              DISTRICT
              Clerk, US            7100-001              $0.00         $0.00         $0.00        $2.55
              Bankruptcy Court
              (Claim No. 22;
              RANCHO
              CALIF. WATER
              DISTRICT       )
     23       WELLS FARGO          7100-000        $862,225.00 $1,446,040.67 $1,446,040.6    $48,640.46
              BANK, N.A.                                                                7
     24       FOSTER               7100-000        $118,947.84   $240,606.17   $240,606.17    $8,093.27
              PEPPER PLLC
     25       CT                   7100-000            $50.00       $103.00       $103.00         $0.00
              CORPORATION


UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 11 of
                                                  63

              Clerk, US            7100-001              $0.00         $0.00         $0.00         $3.46
              Bankruptcy Court
              (Claim No. 25;
              CT
              CORPORATION
              )
     26       WOODSIDE             7100-000          $1,090.20     $1,783.16     $1,783.16       $59.98
              VILLAGE HOA
     28       DANIEL H             7100-000              $0.00     $2,032.28     $2,032.28       $68.36
              PURYEAR ESQ
     29       KENNETH C            7100-000              $0.00    $35,244.00    $35,244.00     $1,185.50
              GREENE
     30       PROTECTION           7100-000              $0.00      $168.00       $168.00          $5.65
              ONE
     31       FEINERMAN,           7100-000         $65,000.00   $105,000.00   $105,000.00     $3,531.88
              MYRNA
     32       SIMPLY               7100-000              $0.00 $7,205,000.00 $7,205,000.0    $242,354.56
              SMOKIN''                                                                  0
              RECORDS INC
     33       KAY, DONALD          7100-000         $90,000.00    $96,300.00    $96,300.00     $3,239.24
     34       ANDREA D.            7100-000              $0.00   $252,000.00   $252,000.00     $8,476.52
              BELLAMY
              TRUST
     35       EASTMAN &            7100-000         $12,626.56    $12,626.56    $12,626.56      $424.72
              SMITH LTD
     36       FEINERMAN,           7100-000              $0.00    $20,000.00    $20,000.00         $0.00
              JEROME
              US                   7100-001              $0.00         $0.00         $0.00      $672.74
              BANKRUPTCY
              COURT (Claim
              No. 36;
              FEINERMAN,
              JEROME)
     37       BOOTH,               7100-000              $0.00   $233,690.00   $233,690.00     $7,860.63
              GOLDYNNE
     38       HILLSBOROUG          7100-000           $398.00       $182.25          $0.00         $0.00
              H MASTER
              HOA
              US                   7100-001              $0.00         $0.00         $0.00         $6.13
              BANKRUPTCY
              COURT (Claim
              No. 38;
              HILLSBOROUG
              H MASTER
              HOA)
     39       T-MOBILE USA         7100-000              $0.00      $437.62       $437.62        $14.72
              INC.
     40       CALIFORNIA           7100-000              $0.00   $737,728.16   $737,728.16    $24,814.96
              BANK & TRUST
     41       HILLSBOROUG          7100-000              $0.00      $182.25       $182.25          $0.00
              H MASTER
              HOA

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 12 of
                                                  63

     42       Kleinman Weiss       7100-000        $100,000.00   $105,000.00   $105,000.00    $3,531.88
              Living Trust
     44       JOHN H               7100-000              $0.00    $18,802.22    $18,802.22      $632.45
              BERNSTEIN
              ESQ
     45       SCOTT & LISA         7100-000         $46,649.00    $47,825.10    $47,825.10    $1,608.69
              TOLAND
     46       ROBERT J             7100-000              $0.00   $495,000.00   $495,000.00   $16,650.31
              HOGG
     48       JAMES P.             7100-000        $180,000.00    $52,058.33    $52,058.33    $1,751.09
              BLASINGAME
              FAMILY TRUST
     49       JAMES P.             7100-000              $0.00    $31,000.00    $31,000.00    $1,042.75
              BLASINGAME,
              M.D. IRA
              ROLLOVER
     51       SCOTT & LISA         7100-000              $0.00    $47,825.10         $0.00        $0.00
              TOLAND
     52       LAS PALMAS           7100-000           $960.00      $1,460.00     $1,460.00       $49.11
              CONDOMINIU
              M ASSOC
     53       Mignon Walker        7100-000              $0.00   $862,000.00         $0.00   $28,995.09
              Marquina; Sergio
              Marquina and
              Skinsauve, LLC
     54       Mignon Walker        7100-000              $0.00   $862,000.00         $0.00        $0.00
              Marquina; Sergio
              Marquina and
              Skinsauve, LLC
     55       SOUTHERN             7100-000           $612.03      $1,246.77         $0.00        $0.00
              CALIFORNIA
              EDISON
              COMPANY
     56       SOUTHERN             7100-000            $51.82        $41.03        $41.03         $0.00
              CALIFORNIA
              EDISON
              COMPANY
              Clerk, US            7100-001              $0.00         $0.00         $0.00        $1.38
              Bankruptcy Court
              (Claim No. 56;
              SOUTHERN
              CALIFORNIA
              EDISON
              COMPANY )
     57       CAROL SARNA          7100-000         $50,207.00    $51,602.37    $51,602.37    $1,735.75
     58       BURTON               7100-000         $14,902.25    $10,260.50    $10,260.50      $345.13
              VOLKMAN &
              SCHMAL
     59       James & Blacida      7100-000         $13,549.89    $13,605.42    $13,605.42      $457.65
              Giaciolli
     60       Essel Enterprises,   7100-000        $477,611.63   $492,453.58   $492,453.58   $16,564.66
              LLC

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 13 of
                                                  63

     63       TOVIK                7100-000             $0.00    $981,133.00         $0.00        $0.00
              LIBERMAN
     64       WRIGHT,              7100-000             $0.00     $19,687.98    $19,687.98      $662.24
              FINLAY & ZAK,
              LLP
     65       FIRST                7100-000             $0.00          $0.00         $0.00        $0.00
              AMERICAN
              TITLE
              INSURANCE
              COMP
     66       FIRST                7100-000             $0.00     $19,687.98         $0.00        $0.00
              AMERICAN
              TITLE
              INSURANCE
              COMP
     67       FIRST                7100-000             $0.00          $0.00         $0.00        $0.00
              AMERICAN
              TITLE
              INSURANCE
              COMP
     68       WRIGHT,              7100-000             $0.00     $19,687.98         $0.00        $0.00
              FINLAY & ZAK,
              LLP
     69       ERNEST R. J.         7100-000             $0.00    $264,498.92   $264,498.92    $8,896.95
              WALDBURGER
     70       Mignon Walker        7100-000             $0.00    $862,000.00         $0.00        $0.00
              Marquina; Sergio
              Marquina and
              Skinsauve, LLC
     71       HILLSBOROUG          7100-000             $0.00       $416.68       $416.68        $14.02
              H GREENS
              PLANNED UNIT
              DE
     72       220-240 ASSOC        7100-000             $0.00      $6,139.28     $6,139.28      $206.51
     73       CITYFRONT            7100-000             $0.00     $18,400.46    $18,400.46      $618.94
              TERRACE HOA
     74       MERIDIAN             7100-000             $0.00     $21,240.10    $21,240.10      $714.45
              RESIDENTIAL
              ASSOC.
     75       HIGH                 7100-000             $0.00      $1,085.00     $1,085.00       $36.50
              COUNTRY
              WEST
              PROPERTY
              OWNERS A
     76       LA JOLLA CITY        7100-000          $1,214.40     $1,990.60     $1,990.60       $66.96
              CLUB HOA
     77       Sciton               7100-000             $0.00     $30,000.00    $30,000.00    $1,009.11
     80       E AND F              7100-000             $0.00          $0.00         $0.00        $0.00
              SEPTIC TANK
              INC
     81       SCHEER LAW           7100-000           $505.00       $890.24       $890.24        $29.94
              GROUP LLP

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 14 of
                                                  63

     82       ACTION               7100-000              $0.00    $43,801.21         $0.00        $0.00
              FORECLOSURE
              SERVICES, INC.
     83       Anita Ashton         7100-000              $0.00   $312,823.38   $312,823.38   $10,522.44
     84       AMERICAN             7100-000              $0.00    $86,269.62    $86,269.62    $2,901.85
              EXPRESS
              BANK FSB
     86       PAUL &               7100-000              $0.00     $9,147.50         $0.00        $0.00
              CYNTHIA
              BLAKE
     87       FEIN, SUCH,          7100-000         $12,712.74    $12,748.98    $12,748.98      $428.84
              KAHN AND
              SHEPARD PC
     88       AZTEC PLAZA          7100-000              $0.00     $5,847.60     $5,847.60        $0.00
              US                   7100-001              $0.00         $0.00         $0.00      $196.70
              BANKRUPTCY
              COURT (Claim
              No. 88; AZTEC
              PLAZA)
     89       WASHINGTON           7100-000              $0.00   $310,011.65   $310,011.65        $0.00
              MUTUAL
              BANK
              US                   7100-001              $0.00         $0.00         $0.00   $10,427.86
              BANKRUPTCY
              COURT (Claim
              No. 89;
              WASHINGTON
              MUTUAL
              BANK        )
     91       GASLAMP              7100-000              $0.00    $11,019.14    $11,019.14        $0.00
              CITY SQUARE
              PROPERTY
              OWNERS
              US                   7100-001              $0.00         $0.00         $0.00      $370.65
              BANKRUPTCY
              COURT (Claim
              No. 91;
              GASLAMP
              CITY SQUARE
              PROPERTY
              OWNERS)
     93       DISCOVERY AT         7100-000          $3,760.17     $3,975.65     $3,975.65      $133.73
              CORTEZ HILL
              HOA
     95       FEINERMAN,           7100-000              $0.00   $105,000.00   $105,000.00    $3,531.88
              MYRNA
     96       LAS PALMAS           7100-000           $960.00      $3,530.00     $3,530.00      $118.74
              CONDOMINIU
              M ASSOC
    98B       NEW YORK             7100-000              $0.00       $89.74        $89.74         $0.00
              STATE DEPT
              OF TAXATION
              OF

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04         Doc 1276      Pg. 15 of
                                                  63

              Clerk, US            7100-001              $0.00          $0.00         $0.00        $3.02
              Bankruptcy Court
              (Claim No. 98B;
              NEW YORK
              STATE DEPT
              OF TAXATION
              OF )
     99       PAYCHEX              7100-000            $133.24       $219.03       $219.03         $7.37
    100       BURTON               7100-000         $14,902.25     $12,321.56    $12,321.56      $414.46
              VOLKMAN &
              SCHMAL
    101       YAACOV S.            7100-000        $800,000.00   $859,853.66    $859,853.66   $28,922.89
              LIBERMAN
              AND LEA
              LIBERMAN
    102       TOVIK                7100-000       $1,000,000.00 $1,020,451.66 $1,020,451.6    $34,324.93
              LIBERMAN                                                                   6
    103       SHLOMO AND           7100-000        $210,544.00   $408,880.66    $408,880.66   $13,753.52
              VICTORIA
              BENDERLY
              FAMILY
    104       EINSTEIN,            7100-000        $929,000.00   $925,144.50    $925,144.50   $31,119.08
              AHUVA
    105       FIA CARD             7100-000              $0.00     $39,960.47    $39,960.47    $1,344.15
              SERVICES,
              NA/BANK OF
              AMERI
    106       ACTION               7100-000              $0.00     $43,801.00         $0.00        $0.00
              FORECLOSURE
              SERVICES, INC.
    107       Daniel & Linda       7100-000              $0.00     $26,917.75    $26,917.75      $905.43
              Mitrovich
    108       ADRIAN               7100-000              $0.00 $1,204,549.00 $1,204,549.0     $40,517.41
              WINICK                                                                    0
    109       KAY, DONALD          7200-000              $0.00     $96,300.00         $0.00        $0.00
    110       WINICK,              7100-000              $0.00   $348,787.00    $348,787.00   $11,732.15
              MICHAEL
    111       SUSAN (SUZY)         7100-000              $0.00   $316,788.00    $316,788.00   $10,655.80
              FIG
    112       LA JOLLA CITY        7100-000              $0.00      $1,098.90     $1,098.90       $36.96
              CLUB HOA
    113       MERIDIAN             7100-000              $0.00     $17,484.10    $17,484.10      $588.11
              RESIDENTIAL
              ASSOC.
    114       CITYFRONT            7100-000              $0.00      $5,110.14     $5,110.14      $171.89
              TERRACE HOA
    115       CITYFRONT            7100-000              $0.00      $5,296.65     $5,296.65      $178.16
              TERRACE HOA
    116       CITYFRONT            7100-000              $0.00      $5,271.65     $5,271.65      $177.32
              TERRACE HOA
    117       SAN DIEGO            7100-000          $1,067.76       $525.46       $525.46        $17.67

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7             Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 16 of
                                                   63

              UNION
              TRIBUNE
   118A       STATE OF              7100-000              $0.00     $1,677.58     $1,677.58       $56.43
              FLORIDA -
              DEPARTMENT
              OF REVENUE
    119       PARK PLACE            7200-000          $3,180.14     $3,180.14     $3,180.14        $0.00
    120       PARK PLACE            7200-000          $3,312.10     $3,312.10     $3,312.10        $0.00
    123       THE                   7200-000              $0.00    $11,303.49    $11,303.49        $0.00
              TRAVELER'S
              INDEMNITY
              CO. AND IT'S
              AFFILIATES
    124       Michel Winick         7200-000              $0.00   $568,703.00   $568,703.00        $0.00
    130       Horizon Marina        7200-000              $0.00     $4,560.60     $4,560.60        $0.00
              District Owners
              Assoc.
    132       Action                7100-000              $0.00    $43,801.00    $43,801.00    $1,473.33
              Foreclosure
              Services Inc.
    133       Mignon Walker         7100-000              $0.00   $862,000.00   $862,000.00        $0.00
              Marquina
              ABC Fire              7100-000            $23.00          $0.00         $0.00        $0.00
              Equipment Co.
              Alacima HOA           7100-000           $515.00          $0.00         $0.00        $0.00
              All Pro               7100-000           $266.58          $0.00         $0.00        $0.00
              Allegis               7100-000         $20,000.00         $0.00         $0.00        $0.00
              Residential
              Services
              Allied Waste          7100-000            $31.20          $0.00         $0.00        $0.00
              Services #509
              Allied Waste          7100-000            $15.60          $0.00         $0.00        $0.00
              Services #509
              Allied Waste          7100-000            $73.40          $0.00         $0.00        $0.00
              Services #509
              Allied Waste          7100-000            $62.40          $0.00         $0.00        $0.00
              Services #509
              Allied Waste          7100-000           $193.50          $0.00         $0.00        $0.00
              Services #509
              American              7100-000           $400.05          $0.00         $0.00        $0.00
              Reporting
              Services
              American              7100-000           $200.00          $0.00         $0.00        $0.00
              Mechanical
              Systems
              American Pest         7100-000            $75.00          $0.00         $0.00        $0.00
              Control Company
              AMTECH                7100-000          $5,912.35         $0.00         $0.00        $0.00
              Elevator Services
              Antigua At            7100-000              $0.00         $0.00         $0.00        $0.00

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7             Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 17 of
                                                   63

              Eastlake II
              Apropos               7100-000           $960.00      $0.00       $0.00       $0.00
              Arturo Parma          7100-000          $2,418.75     $0.00       $0.00       $0.00
              Landscaping Co.
              AT&T                  7100-000          $1,540.42     $0.00       $0.00       $0.00
              AT&T                  7100-000          $2,395.32     $0.00       $0.00       $0.00
              ATCI                  7100-000          $3,338.48     $0.00       $0.00       $0.00
              Aztec Appliance       7100-000           $640.40      $0.00       $0.00       $0.00
              Ballow, King          7100-000           $138.98      $0.00       $0.00       $0.00
              Benderly, Yona        7100-000        $116,111.25     $0.00       $0.00       $0.00
              Bonded Carpet         7100-000            $96.00      $0.00       $0.00       $0.00
              Bonded Window         7100-000           $146.06      $0.00       $0.00       $0.00
              Coverings, Inc.
              Booth, Goldynne       7100-000        $208,690.00     $0.00       $0.00       $0.00
              Brisbane HOA          7100-000          $2,455.00     $0.00       $0.00       $0.00
              Brisbane HOA          7100-000          $2,455.00     $0.00       $0.00       $0.00
              Burrtec Waste &       7100-000           $201.37      $0.00       $0.00       $0.00
              Recycling Svcs
              C&C Glass             7100-000          $1,472.00     $0.00       $0.00       $0.00
              Calbank               7100-000        $566,054.00     $0.00       $0.00       $0.00
              California            7100-000            $73.82      $0.00       $0.00       $0.00
              American Water
              California            7100-000            $96.00      $0.00       $0.00       $0.00
              Security And
              Video
              California Sub-       7100-000            $63.18      $0.00       $0.00       $0.00
              Meters (CSM)
              California Sub-       7100-000            $93.09      $0.00       $0.00       $0.00
              Meters (CSM)
              California Sub-       7100-000           $108.34      $0.00       $0.00       $0.00
              Meters (CSM)
              California Sub-       7100-000            $33.43      $0.00       $0.00       $0.00
              Meters (CSM)
              California Sub-       7100-000            $53.40      $0.00       $0.00       $0.00
              Meters (CSM)
              California            7100-000            $37.00      $0.00       $0.00       $0.00
              Terraces
              Neighborhood
              CalWestern            7100-000          $2,081.88     $0.00       $0.00       $0.00
              Reconveyance
              Corp.
              Cascado               7100-000           $903.00      $0.00       $0.00       $0.00
              Homeowners
              Assoc.
              Charlie's Law         7100-000           $105.00      $0.00       $0.00       $0.00
              Care
              Charter Point         7100-000           $710.00      $0.00       $0.00       $0.00

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7              Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 18 of
                                                    63

              HOA
              Charter Point          7100-000           $710.00      $0.00       $0.00       $0.00
              HOA
              Citibank               7100-000          $8,864.27     $0.00       $0.00       $0.00
              City Front             7100-000          $5,103.03     $0.00       $0.00       $0.00
              Terrace HOA
              City Front             7100-000          $4,122.97     $0.00       $0.00       $0.00
              Terrace HOA
              City Front             7100-000          $4,122.97     $0.00       $0.00       $0.00
              Terrace HOA
              City Front             7100-000          $4,051.49     $0.00       $0.00       $0.00
              Terrace HOA
              Clark County           7100-000           $182.96      $0.00       $0.00       $0.00
              Water
              Reclamation
              District
              Coachella Valley       7100-000            $19.60      $0.00       $0.00       $0.00
              Water District
              Cohen, Arieh           7100-000        $100,016.29     $0.00       $0.00       $0.00
              Colony Barcelona       7100-000           $700.00      $0.00       $0.00       $0.00
              HOA
              Crawford, David        7100-000           $517.50      $0.00       $0.00       $0.00
              Credit Control         7100-000            $17.45      $0.00       $0.00       $0.00
              Corporation
              De-Lux Roofing         7100-000           $400.00      $0.00       $0.00       $0.00
              Co.
              Dewey Pest             7100-000           $160.00      $0.00       $0.00       $0.00
              Control
              Eastern Municipal      7100-000           $161.13      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000           $317.38      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000           $153.26      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000            $88.90      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000           $296.30      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000           $246.18      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000            $97.80      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000           $233.17      $0.00       $0.00       $0.00
              Water District
              Eastern Municipal      7100-000           $238.62      $0.00       $0.00       $0.00
              Water District
              Eastlake Greens        7100-000           $371.40      $0.00       $0.00       $0.00
              Fairway Villas At      7100-000           $531.66      $0.00       $0.00       $0.00
              Eastlake

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7              Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 19 of
                                                    63

              Feinerman &            7100-000         $20,000.00     $0.00       $0.00       $0.00
              Meadow
              Feinerman,             7100-000         $20,000.00     $0.00       $0.00       $0.00
              Jerome
              Fig, Nicole            7100-000           $540.90      $0.00       $0.00       $0.00
              Fig, Suzy              7100-000        $280,000.00     $0.00       $0.00       $0.00
              First Advantage        7100-000            $68.56      $0.00       $0.00       $0.00
              Credco
              First American         7100-000            $68.56      $0.00       $0.00       $0.00
              CREDCO
              First Bank and         7100-000        $334,703.24     $0.00       $0.00       $0.00
              Trust
              First Bank Of          7100-000        $331,891.00     $0.00       $0.00       $0.00
              Illinois
              Gaslamp Square         7100-000          $1,547.60     $0.00       $0.00       $0.00
              Gaslamp Square         7100-000          $1,533.45     $0.00       $0.00       $0.00
              Gaslamp Square         7100-000          $1,368.10     $0.00       $0.00       $0.00
              Gaslamp Square         7100-000          $1,533.45     $0.00       $0.00       $0.00
              Gaslamp Square         7100-000          $1,533.45     $0.00       $0.00       $0.00
              Gaslamp Square         7100-000          $1,533.45     $0.00       $0.00       $0.00
              GP Landscape           7100-000            $90.00      $0.00       $0.00       $0.00
              Maintenance
              GP Landscape           7100-000           $292.50      $0.00       $0.00       $0.00
              Maintenance
              Hassler                7100-000            $91.59      $0.00       $0.00       $0.00
              Higgs Fletcher         7100-000          $9,128.38     $0.00       $0.00       $0.00
              High Country           7100-000           $445.00      $0.00       $0.00       $0.00
              West
              Highlands              7100-000          $3,259.75     $0.00       $0.00       $0.00
              Environmental
              Solutions
              Hillsborough           7100-000          $1,175.90     $0.00       $0.00       $0.00
              Greens HOA
              Hillsborough           7100-000          $1,114.31     $0.00       $0.00       $0.00
              Greens HOA
              Hillsborough           7100-000           $398.00      $0.00       $0.00       $0.00
              Master HOA
              Hillsborough           7100-000           $398.00      $0.00       $0.00       $0.00
              Master HOA
              Hillsborough           7100-000           $562.50      $0.00       $0.00       $0.00
              Meadows HOA
              Hl-TEC TV              7100-000           $150.00      $0.00       $0.00       $0.00
              Hoffman, Herbert       7100-000          $1,500.00     $0.00       $0.00       $0.00
              B.
              Jaffe                  7100-000           $808.00      $0.00       $0.00       $0.00
              Jaime                  7100-000          $5,090.00     $0.00       $0.00       $0.00
              Construction, Inc.

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7             Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 20 of
                                                   63

              JDR                   7100-000           $788.64      $0.00       $0.00       $0.00
              Jorge Alex            7100-000           $290.00      $0.00       $0.00       $0.00
              Acosta
              Knox Services         7100-000           $127.50      $0.00       $0.00       $0.00
              La Jolla Colony       7100-000            $48.60      $0.00       $0.00       $0.00
              Com. Association
              La Jolla Colony       7100-000            $48.60      $0.00       $0.00       $0.00
              Com. Association
              La Jolla Colony       7100-000            $48.60      $0.00       $0.00       $0.00
              Com. Association
              La Jolla Village      7100-000          $1,946.00     $0.00       $0.00       $0.00
              Southpointe
              Lake Arrowhead        7100-000           $175.39      $0.00       $0.00       $0.00
              CSD
              Lake Hemet            7100-000           $182.24      $0.00       $0.00       $0.00
              Municipal Water
              District
              Master Landscape      7100-000          $2,645.00     $0.00       $0.00       $0.00
              MB Financial          7100-000        $440,156.00     $0.00       $0.00       $0.00
              Bank
              McMillim Lomas        7100-000           $381.00      $0.00       $0.00       $0.00
              Verdes Master
              Meadow Run            7100-000           $660.00      $0.00       $0.00       $0.00
              HOA
              Meadow Run            7100-000           $165.00      $0.00       $0.00       $0.00
              HOA
              Meridian              7100-000          $1,521.00     $0.00       $0.00       $0.00
              Residential
              Association
              Meridian              7100-000          $1,504.00     $0.00       $0.00       $0.00
              Residential
              Association
              Meridian              7100-000          $1,504.00     $0.00       $0.00       $0.00
              Residential
              Association
              MISource              7100-000            $76.62      $0.00       $0.00       $0.00
              North Shore           7100-000           $538.32      $0.00       $0.00       $0.00
              Agency For
              FedEx
              Ocean Terrace         7100-000          $1,268.00     $0.00       $0.00       $0.00
              Main Corp.
              Ocean Terrace         7100-000          $1,268.00     $0.00       $0.00       $0.00
              Main Corp.
              Ocean Terrace         7100-000          $1,268.00     $0.00       $0.00       $0.00
              Main Corp.
              Orion                 7100-000              $0.00     $0.00       $0.00       $0.00
              Otay Ranch One        7100-000           $445.00      $0.00       $0.00       $0.00
              Comm.
              Association

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7              Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 21 of
                                                    63

              Otay Water             7100-000             $93.77     $0.00       $0.00       $0.00
              District
              Otay Water             7100-000            $144.42     $0.00       $0.00       $0.00
              District
              Otay Water             7100-000             $21.45     $0.00       $0.00       $0.00
              District
              Otay Water             7100-000             $22.88     $0.00       $0.00       $0.00
              District
              Otay Water             7100-000            $228.80     $0.00       $0.00       $0.00
              District
              Otay Water             7100-000            $290.89     $0.00       $0.00       $0.00
              District
              Park Terrace           7100-000            $840.00     $0.00       $0.00       $0.00
              Village
              Parkwoods              7100-000           $1,300.00    $0.00       $0.00       $0.00
              Condominium
              Association
              PFF Bank and           7100-000      $50,000,000.00    $0.00       $0.00       $0.00
              Trust
              Pite Duncan            7100-000           $1,222.50    $0.00       $0.00       $0.00
              Play Landscape,        7100-000            $545.00     $0.00       $0.00       $0.00
              Inc.
              Portico @              7100-000            $803.00     $0.00       $0.00       $0.00
              Rancho Carrillo
              Puryear, Smythe        7100-000            $921.00     $0.00       $0.00       $0.00
              Rancho                 7100-000            $185.95     $0.00       $0.00       $0.00
              BellaVista CM
              ASN
              Rancho California      7100-000             $34.88     $0.00       $0.00       $0.00
              Water District
              Rancho Carillo         7100-000            $483.00     $0.00       $0.00       $0.00
              Master Assoc.
              Rancho Carillo         7100-000            $428.00     $0.00       $0.00       $0.00
              Master Assoc.
              Redhawk Comm.          7100-000            $109.88     $0.00       $0.00       $0.00
              Assoc.
              Regional Elite         7100-000            $201.72     $0.00       $0.00       $0.00
              Plumbing, Inc.
              Regional Elite         7100-000            $319.18     $0.00       $0.00       $0.00
              Plumbing, Inc.
              Rock, Kutak            7100-000         $16,708.65     $0.00       $0.00       $0.00
              Rodgers Police         7100-000           $2,700.00    $0.00       $0.00       $0.00
              Patrol
              Rosen, Horgan          7100-000           $7,353.43    $0.00       $0.00       $0.00
              San Diego Credit       7100-000            $549.07     $0.00       $0.00       $0.00
              Association
              Sanibelle              7100-000            $760.20     $0.00       $0.00       $0.00
              Schaffter, Brett       7100-000        $400,000.00     $0.00       $0.00       $0.00


UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7             Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 22 of
                                                   63

              SDG&E                 7100-000            $49.64      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $28.35      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $10.00      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $47.73      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $68.89      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $38.05      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $41.46      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $28.22      $0.00       $0.00       $0.00
              SDG&E                 7100-000           $160.37      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $83.14      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $92.87      $0.00       $0.00       $0.00
              SDG&E                 7100-000          $1,309.88     $0.00       $0.00       $0.00
              SDG&E                 7100-000            $33.94      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $36.37      $0.00       $0.00       $0.00
              SDG&E                 7100-000           $216.76      $0.00       $0.00       $0.00
              SDG&E                 7100-000           $201.81      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $29.11      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $15.16      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $48.78      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $32.63      $0.00       $0.00       $0.00
              SDG&E                 7100-000            $24.30      $0.00       $0.00       $0.00
              Shredforce            7100-000            $39.95      $0.00       $0.00       $0.00
              Silverado             7100-000          $4,360.96     $0.00       $0.00       $0.00
              Community
              Mgmt. Service
              Smith, Eastman        7100-000         $12,626.56     $0.00       $0.00       $0.00
              Snyder                7100-000          $1,965.00     $0.00       $0.00       $0.00
              Development &
              Property Services
              Soloman Grindle       7100-000        $108,736.86     $0.00       $0.00       $0.00
              South Coast           7100-000           $405.50      $0.00       $0.00       $0.00
              Appliance Repair,
              Inc.
              Southern              7100-000            $51.75      $0.00       $0.00       $0.00
              California Edison
              Southern              7100-000            $35.71      $0.00       $0.00       $0.00
              California Edison
              Southern              7100-000            $15.89      $0.00       $0.00       $0.00
              California Edison
              Southern              7100-000            $51.82      $0.00       $0.00       $0.00
              California Edison
              Southern              7100-000            $34.37      $0.00       $0.00       $0.00
              California Edison
              Southern              7100-000            $15.53      $0.00       $0.00       $0.00
              California Edison


UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7            Filed 06/13/18   Entered 06/13/18 15:00:04    Doc 1276    Pg. 23 of
                                                  63

              Southern             7100-000             $29.84     $0.00       $0.00       $0.00
              California Edison
              Southern             7100-000             $28.47     $0.00       $0.00       $0.00
              California Edison
              Southern             7100-000             $23.08     $0.00       $0.00       $0.00
              California Edison
              SOUTHWEST            7100-000       $1,733,762.07    $0.00       $0.00       $0.00
              BANK
              Sparkletts           7100-000            $182.47     $0.00       $0.00       $0.00
              Stallion             7100-000            $210.82     $0.00       $0.00       $0.00
              Mountain HOA-
              Master
              Stallion Mountain    7100-000             $69.36     $0.00       $0.00       $0.00
              HOA-Master
              Terrace Green II     7100-000            $878.00     $0.00       $0.00       $0.00
              Hoa
              The City Of San      7100-000            $685.00     $0.00       $0.00       $0.00
              Diego
              The City Of San      7100-000            $769.76     $0.00       $0.00       $0.00
              Diego
              The City Of San      7100-000            $822.73     $0.00       $0.00       $0.00
              Diego
              The City Of San      7100-000             $49.64     $0.00       $0.00       $0.00
              Diego
              The Gas              7100-000             $36.28     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000              $1.88     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000             $31.22     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000             $34.47     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000             $27.04     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000             $43.71     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000             $37.77     $0.00       $0.00       $0.00
              Company
              The Gas              7100-000             $41.55     $0.00       $0.00       $0.00
              Company
              The Springs          7100-000          $3,047.21     $0.00       $0.00       $0.00
              Comm.
              Association
              The Villages Of      7100-000            $463.00     $0.00       $0.00       $0.00
              Rancho Del Oro
              Time Warner          7100-000            $326.07     $0.00       $0.00       $0.00
              Cable
              Time Warner          7100-000            $791.26     $0.00       $0.00       $0.00
              Cable

UST Form 101-7-TDR (10/1/2010)
Case 07-04977-LT7             Filed 06/13/18   Entered 06/13/18 15:00:04        Doc 1276      Pg. 24 of
                                                   63

              Truly Nolen Of        7100-000            $224.00         $0.00         $0.00         $0.00
              America, Inc.
              Valentine &           7100-000            $199.92         $0.00         $0.00         $0.00
              Kebartas For
              Protection One
              Veros                 7100-000             $20.00         $0.00         $0.00         $0.00
              Vic's Pools           7100-000             $90.00         $0.00         $0.00         $0.00
              Vista Sonrisa         7100-000            $963.60         $0.00         $0.00         $0.00
              HOA
              Wahington             7100-000        $304,558.00         $0.00         $0.00         $0.00
              Mutual
              Waldburger,           7100-000        $250,000.00         $0.00         $0.00         $0.00
              Earnest R.
              WASHINGTON            7100-000        $290,268.18         $0.00         $0.00         $0.00
              MUTUAL
              Waste                 7100-000          $3,595.13         $0.00         $0.00         $0.00
              Management
              Waste                 7100-000          $3,595.13         $0.00         $0.00         $0.00
              Management
              WEINBERG,             7100-000        $280,891.64         $0.00         $0.00         $0.00
              DORITTE
              Weinberg, Robert      7100-000        $313,313.90         $0.00         $0.00         $0.00
              Wells Fargo           7100-000        $509,315.00         $0.00         $0.00         $0.00
              Winick, Jack          7100-000              $0.00         $0.00         $0.00         $0.00
              Winick, Michael       7100-000        $200,000.00         $0.00         $0.00         $0.00
              Zion's First          7100-000       $1,180,307.88        $0.00         $0.00         $0.00
              National Bank
TOTAL GENERAL UNSECURED CLAIMS                    $63,782,361.81 $24,659,613.8 $20,196,906.   $659,481.82
                                                                             4          92




UST Form 101-7-TDR (10/1/2010)
               Case 07-04977-LT7                      Filed 06/13/18            Entered 06/13/18 15:00:04                     Doc 1276              Pg. 25 of
                                                                                                                                                     Page No:      1
                                                                               FORM 631
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                           Exhibit 8
                                                                ASSET CASES
Case No.:                    07-04977-LT7                                                             Trustee Name:                               Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                                       Date Filed (f) or Converted (c):            10/10/2008 (c)
For the Period Ending:       5/21/2018                                                                §341(a) Meeting Date:                       11/17/2008
                                                                                                      Claims Bar Date:                            04/29/2009

                         1                                    2                     3                          4                         5                         6

                 Asset Description                       Petition/          Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                       Unscheduled         (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                    Value                   Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                          Less Liens, Exemptions,                                                         Remaining Assets
                                                                             and Other Costs)

 Ref. #
1       DIP ACCOUNT                             (u)               $0.00                 $147,022.95                                      $147,022.95                      FA
2       DIP ACCOUNT 2180056990                  (u)               $0.00                  $79,286.49                                       $79,286.49                      FA
3       DIP ACCOUNT 2180056826                  (u)               $0.00                   $1,109.71                                          $1,109.71                    FA
4       DIP ACCT 2180056796                     (u)               $0.00                  $18,920.00                                       $18,920.00                      FA
5       DIP ACCT 2180057075                     (u)               $0.00                   $2,826.49                                          $2,826.49                    FA
    6   DINUNZIO SETTLEMENT                                       $0.00                 $103,347.11                                      $103,347.11                      FA
Asset Notes:      litigation for additional sums pending
    7   Post-Petition Interest Deposits         (u)          Unknown                       $349.99                                            $349.99                     FA
    8   TAX REFUND                              (u)               $0.00                    $751.13                                            $751.13                     FA
9       VENDOR REFUND                           (u)               $0.00                   $4,205.73                                          $4,205.73                    FA
 10     LITIGATION SETTLEMENT                   (u)               $0.00                     $13.37                                             $13.37                     FA
Asset Notes:      class action
 11     HAZLEY LEASE                            (u)               $0.00                  $50,000.00                                       $50,000.00                      FA
 12     ACCOUNTS REC                            (u)               $0.00                   $2,453.20                                          $2,453.20                    FA
 13     24098 SENNA DRIVE,                                 $432,000.00                        $0.00           OA                                $0.00                     FA
        WILDOMAR, CA
 14     259 DONAX #D, IMPERIAL                             $410,000.00                        $0.00           OA                                $0.00                     FA
        BEACH, CA
 15     259 DONAX #E, IMPERIAL                             $410,000.00                        $0.00           OA                                $0.00                     FA
        BEACH, CA
 16     259 DONAX #F, IMPERIAL                             $410,000.00                        $0.00           OA                                $0.00                     FA
        BEACH, CA
17     CALIFORNIA BANK &                                     $1,604.00                        $0.00                                             $0.00                     FA
       TRUST BANK ACCOUNTS
Asset Notes:  CALIFORNIA BANK & TRUST
18     FIRST REPUBLIC BANK                                    $644.00                         $0.00                                             $0.00                     FA
       ACCOUNT
Asset Notes:   SAME AS ASSET NO. 4 ABOVE
19      PFF BANK & TRUST                                     $3,659.00                        $0.00                                             $0.00                     FA
Asset Notes:      SAME AS ASSET NO. 5 ABOVE
20      CREATIVE CAPITAL V.                                 $25,000.00                        $0.00                                             $0.00                     FA
        COLEMAN
21      CREATIVE CAPITAL V.                                $100,000.00                        $0.00                                             $0.00                     FA
        DOHEN
22      CREATIVE CAPITAL V.                                 $30,000.00                        $0.00                                             $0.00                     FA
        LINCRAFT
23     CREATIVE CAPITAL V.                                 $200,000.00                   $79,928.76                                       $79,928.76                      FA
       ROBY
Asset Notes:  order approving court docket #641
24      CREATIVE CAPITAL V.                                 $50,000.00                        $0.00                                             $0.00                     FA
        SHOLOM
25      CREATIVE CAPITAL V.                                $150,000.00                        $0.00                                             $0.00                     FA
        STUDIO 9
26      EQUIP, FIXTURES                                    $375,000.00                        $0.00                                             $0.00                     FA
              Case 07-04977-LT7               Filed 06/13/18        Entered 06/13/18 15:00:04                    Doc 1276              Pg. 26 of
                                                                                                                                        Page No:    2
                                                                   FORM 631
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                Exhibit 8
                                                             ASSET CASES
Case No.:                    07-04977-LT7                                                Trustee Name:                             Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                          Date Filed (f) or Converted (c):          10/10/2008 (c)
For the Period Ending:       5/21/2018                                                   §341(a) Meeting Date:                     11/17/2008
                                                                                         Claims Bar Date:                          04/29/2009

                         1                         2                    3                         4                         5                       6

                 Asset Description               Petition/      Estimated Net Value            Property               Sales/Funds             Asset Fully
                  (Scheduled and               Unscheduled     (Value Determined by            Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)            Value               Trustee,           OA =§ 554(a) abandon.           Estate              Gross Value of
                                                              Less Liens, Exemptions,                                                       Remaining Assets
                                                                 and Other Costs)

27     APPEAL BOND IN                           $400,000.00                      $0.00                                           $0.00                      FA
       SCHAFFTER V. CREATIVE
       CAPITAL
Asset Notes:  Debtor lost appeal
28     OTHER PERSONAL                     $3,500.00               $0.00                                                          $0.00                      FA
       PROPERTY
Asset Notes:  CASH HELD BY DAVID WINICK FOR DEPOSIT INTO COLLATERAL ACCOUNT
29     OTHER PERSONAL                   $153,450.00                $0.00                                                         $0.00                      FA
       PROPERTY
Asset Notes:  CASH HELD BY DAVID WINICK FOR DEPOSIT INTO DEBTOR-IN-POSSESSION ACCOUNT
 30     26386 WALNUT HILLS                      $440,000.00                      $0.00           OA                              $0.00                      FA
        DRIVE, LAKE
        ARROWHEAD, CA
 31     27867 WINTERGROVE                       $425,000.00                      $0.00           OA                              $0.00                      FA
        WAY, MURRIETA, CA
 32     3073 VIA MAXIMO,                        $485,000.00                      $0.00           OA                              $0.00                      FA
        CARLSBAD, CA
 33     3262 CAMINITO AMECA,                    $570,000.00                      $0.00           OA                              $0.00                      FA
        LA JOLLA, CA
 34     3322 DOUBLE BUTTE,                      $400,000.00                      $0.00           OA                              $0.00                      FA
        HEMET, CA
 35     376 CENTER STREET #153,                 $365,000.00                      $0.00           OA                              $0.00                      FA
        CHULA VISTA, CA
 36     3828 RADCLIFFE LANE,                    $635,000.00                      $0.00           OA                              $0.00                      FA
        SAN DIEGO
 37     3876 RUSHMORE COURT,                    $320,000.00                      $0.00           OA                              $0.00                      FA
        HEMET, CA
 38     3876 STONEMONT DRIVE,                   $300,000.00                      $0.00           OA                              $0.00                      FA
        HEMET, CA
 39     38936 WANDERING LANE,                   $410,000.00                      $0.00           OA                              $0.00                      FA
        MURRIETA, CA
 40     3927 STONEMONT,                         $330,000.00                      $0.00           OA                              $0.00                      FA
        HEMET, CA
 41     39284 MEMORY DRIVE,                     $425,000.00                      $0.00           OA                              $0.00                      FA
        MURRIETA, CA
 42     4165 PORTE DE MERANO                    $375,000.00                      $0.00           OA                              $0.00                      FA
        #148, SAN DIEGO, CA
 43     420 SANIBELLE CIRCLE                    $400,000.00                      $0.00           OA                              $0.00                      FA
        #101, CHULA VISTA, CA
 44     4245 PORTE DE MERANO                    $515,000.00                      $0.00           OA                              $0.00                      FA
        #112, SAN DIEGO, CA
 45     4390 RAINBOW VIEW WAY,                  $333,000.00                      $0.00           OA                              $0.00                      FA
        HEMET, CA
 46     4405 WILD OAK CIRCLE,                   $340,000.00                      $0.00           OA                              $0.00                      FA
        HEMET, CA
              Case 07-04977-LT7                   Filed 06/13/18         Entered 06/13/18 15:00:04                    Doc 1276              Pg. 27 of
                                                                                                                                             Page No:    3
                                                                        FORM 631
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Exhibit 8
                                                             ASSET CASES
Case No.:                    07-04977-LT7                                                     Trustee Name:                             Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                               Date Filed (f) or Converted (c):          10/10/2008 (c)
For the Period Ending:       5/21/2018                                                        §341(a) Meeting Date:                     11/17/2008
                                                                                              Claims Bar Date:                          04/29/2009

                         1                              2                    3                         4                         5                       6

                 Asset Description                   Petition/       Estimated Net Value            Property               Sales/Funds             Asset Fully
                  (Scheduled and                   Unscheduled      (Value Determined by            Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)                Value                Trustee,           OA =§ 554(a) abandon.           Estate              Gross Value of
                                                                   Less Liens, Exemptions,                                                       Remaining Assets
                                                                      and Other Costs)

47      4434 BRISBANE WAY #2,                       $448,000.00                       $0.00           OA                              $0.00                      FA
        OCEANSIDE, CA
48      44458 NIGHTHAWK PASS,                       $530,000.00                       $0.00           OA                              $0.00                      FA
        TEMECULA, CA
49      4456 BRISBANE WAY #2,                       $448,000.00                       $0.00           OA                              $0.00                      FA
        OCEANSIDE, CA
50      450 J STREET #6021, SAN                     $400,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
51      450 J STREET #6051, SAN                     $400,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
52      450 J STREET #6121, SAN                     $280,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
53      450 J STREET #7011, SAN                     $400,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
54      450 J STREET #7151, SAN                     $409,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
55      450 J STREET #7171, SAN                     $409,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
56      VOID                                (u)        Unknown                        $0.00                                           $0.00                      FA
57      4505 THORNBUSH, HEMET,                      $325,000.00                       $0.00           OA                              $0.00                      FA
        CA
58      4588 JUTLAND DRIVE, SAN                     $500,000.00                       $0.00           OA                              $0.00                      FA
        DIEGO, CA
59      4610 LOS ALAMOS WAY                         $423,000.00                       $0.00           OA                              $0.00                      FA
        #B, OCEANSIDE, CA
60      4805 CREEKRIDGE LANE,                       $320,000.00                       $0.00           OA                              $0.00                      FA
        HEMET, CA
61      4826 CREEKRIDGE LANE,                       $320,000.00                       $0.00           OA                              $0.00                      FA
        HEMET, CA
62      500 WEST HARBOR DR                         $1,200,000.00                      $0.00           OA                              $0.00                      FA
        #1122, SAN DIEGO, CA
63      500 WEST HARBOR DRIVE                       $575,000.00                       $0.00           OA                              $0.00                      FA
        #306, SAN DIEGO, CA
64      500 WEST HARBOR DRIVE                       $630,000.00                       $0.00           OA                              $0.00                      FA
        #603, SAN DIEGO, CA
65      500 WEST HARBOR DRIVE                       $620,000.00                       $0.00           OA                              $0.00                      FA
        #709, SAN DIEGO, CA
66      510 FIRST AVENUE #602,                      $752,000.00                       $0.00           OA                              $0.00                      FA
        SAN DIEGO, CA
67      540 ISLAND BREEZE LANE,                     $630,000.00                       $0.00           OA                              $0.00                      FA
        SAN DIEGO, CA
68      566 BIERNACKI COURT,                        $590,000.00                       $0.00           OA                              $0.00                      FA
        CHULA VISTA, CA
69      5881 SWAN POINT PLACE,                      $340,000.00                       $0.00           OA                              $0.00                      FA
        LAS VEGAS, NV
               Case 07-04977-LT7                    Filed 06/13/18           Entered 06/13/18 15:00:04                     Doc 1276              Pg. 28 of
                                                                                                                                                  Page No:      4
                                                                            FORM 631
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Exhibit 8
                                                               ASSET CASES
Case No.:                    07-04977-LT7                                                          Trustee Name:                               Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                                    Date Filed (f) or Converted (c):            10/10/2008 (c)
For the Period Ending:       5/21/2018                                                             §341(a) Meeting Date:                       11/17/2008
                                                                                                   Claims Bar Date:                            04/29/2009

                         1                                 2                     3                          4                         5                         6

                 Asset Description                      Petition/        Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                      Unscheduled       (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                   Value                 Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                       Less Liens, Exemptions,                                                         Remaining Assets
                                                                          and Other Costs)

 70     619 KETTNER BLVD., #110,                      $3,250,000.00                        $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 71     629-639 KETTNER BLVD.,                        $2,220,000.00                        $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 72     6290 VIA TRATO,                                $419,000.00                         $0.00           OA                                $0.00                     FA
        CARLSBAD, CA
 73     6354 - 6390 EL CAJON                          $1,850,000.00                        $0.00           OA                                $0.00                     FA
        BLVD., SAN DIEGO, CA
 74     6978 PEMBRIDGE LANE,                           $345,000.00                         $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 75     700 FRONT STREET #501,                        $1,800,000.00                        $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 76     700 FRONT STREET #903,                        $1,100,000.00                        $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 77     700 FRONT STREET #904,                         $925,000.00                         $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 78     700 WEST HARBOR DRIVE                          $900,000.00                         $0.00           OA                                $0.00                     FA
        #2504, SAN DIEGO, CA
 79     7138 CAMINITO PANTAJO,                         $595,000.00                         $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 80     716 VISTA SAN MATIAS,                          $600,000.00                         $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 81     7318 TOOMA STREET, SAN                         $320,000.00                         $0.00           OA                                $0.00                     FA
        DIEGO,
 82     763 WEST G STREET #206,                        $750,000.00                         $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 83     765 DIAMOND DR., CHULA                         $685,000.00                         $0.00           OA                                $0.00                     FA
        VISTA, CA
84      8158 AVENIDA NAVIDAD                           $400,000.00                         $0.00           OA                                $0.00                     FA
        #13, SAN DIEGO, CA
 85     825-845 EAST BROADWAY,                        $2,000,000.00                        $0.00           OA                                $0.00                     FA
        SAN DIEGO, CA
 86     8464 MENKAR RD., SAN                           $440,000.00                         $0.00           OA                                $0.00                     FA
        DIEGO, CA
 87     850 BEACH ST. #103, SAN                        $590,000.00                         $0.00           OA                                $0.00                     FA
        DIEGO, CA
 88     984 PALM VALLEY #D,                            $430,000.00                         $0.00           OA                                $0.00                     FA
        CHULA VISTA, CA
 89     PARCEL #203 02206, KERN                         $15,000.00                         $0.00           OA                                $0.00                     FA
        COUNTY, CA
 90     LYNCO SETTLEMENT                      (u)              $0.00                  $60,000.00                                       $60,000.00                      FA
91      E&F SEPTIC SETTLEMENT                 (u)              $0.00                  $12,000.00                                       $12,000.00                      FA
Asset Notes:      order docket #766
92      LUBRON SETTLEMENT                     (u)              $0.00                 $150,000.00                                      $150,000.00                      FA
Asset Notes:      order approving court docket #746
93      HSBC SETTLEMENT                       (u)              $0.00                   $9,217.15                                          $9,217.15                    FA
               Case 07-04977-LT7                     Filed 06/13/18          Entered 06/13/18 15:00:04                     Doc 1276              Pg. 29 of
                                                                                                                                                  Page No:      5
                                                                            FORM 631
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Exhibit 8
                                                                ASSET CASES
Case No.:                    07-04977-LT7                                                          Trustee Name:                               Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                                    Date Filed (f) or Converted (c):            10/10/2008 (c)
For the Period Ending:       5/21/2018                                                             §341(a) Meeting Date:                       11/17/2008
                                                                                                   Claims Bar Date:                            04/29/2009

                         1                                 2                     3                          4                         5                         6

                 Asset Description                      Petition/        Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                      Unscheduled       (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                   Value                 Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                       Less Liens, Exemptions,                                                         Remaining Assets
                                                                          and Other Costs)

Asset Notes:      order docket #751
Ref. #
94       EUCOPLY SETTLEMENT                    (u)             $0.00                  $20,000.00                                       $20,000.00                      FA
Asset Notes:      order approving court docket #870 (noia docket #827)
95     TRI-VALLEY TOWING                       (u)             $0.00                  $25,000.00                                       $25,000.00                      FA
       SETTLEMENT
Asset Notes:  order docket #763
 96      ULTRASOUND EQUIP                      (u)             $0.00                   $8,500.00                                          $8,500.00                    FA
 97      ACE SETTLEMENT                        (u)             $0.00                  $14,800.00                                       $14,800.00                      FA
 98      CDW SETTLEMENT                        (u)             $0.00                  $11,400.00                                       $11,400.00                      FA
99       BMW SETTLEMENT                        (u)             $0.00                  $11,500.00                                       $11,500.00                      FA
Asset Notes:      order docket #799
100    EMIL'S AUTO BODY                        (u)             $0.00                  $20,000.00                                       $20,000.00                      FA
       SETTLEMENT
Asset Notes:   order docket #818
101      COIT SETTLEMENT                       (u)             $0.00                 $100,000.00                                      $100,000.00                      FA
Asset Notes:      order approving court docket #615
102      SETTLEMENT-First Bank and                             $0.00                 $437,500.00                                      $437,500.00                      FA
         Trust Company of Illinois,
         Southport Properties, LLC,
         Linda Winick and Adrian
         Winick (Adv. Proc.
         No.09-90462-PB), and MB
         Financial Bank, NA,
         MB Financial, Inc. and Adrian
       Winick (Adv. Proc. No.
       09-90465-PB)
Asset Notes:    order docket #815
103    STANFORD PREFERENCE                     (u)             $0.00                  $17,500.00                                       $17,500.00                      FA
       SETTLEMENT
Asset Notes:  order docket #800
104    BANK OF JERUSALEM                       (u)             $0.00                  $45,000.00                                       $45,000.00                      FA
       SETTLEMENT
Asset Notes:  order docket #821
105      STATE OF CALIF.                       (u)             $0.00                    $139.37                                            $139.37                     FA
         UNCLAIMED PROPERTY
         FUND
106      ASHTON SETTLEMENT                     (u)             $0.00                  $15,000.00                                       $15,000.00                      FA
Asset Notes:      order is docket #839
107      HERNANDEZ                             (u)             $0.00                  $30,100.00                                       $30,100.00                      FA
         FORECLOSURE
108      CHASE SETTLEMENT                      (u)             $0.00                 $150,000.00                                      $150,000.00                      FA
Asset Notes:      order is docket #851 (noia is docket #832)
109      BROWN COUNTY SALE                     (u)             $0.00                  $70,038.74                                       $70,038.74                      FA
               Case 07-04977-LT7                    Filed 06/13/18         Entered 06/13/18 15:00:04                     Doc 1276              Pg. 30 of
                                                                                                                                                Page No:      6
                                                                          FORM 631
                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Exhibit 8
                                                              ASSET CASES
Case No.:                    07-04977-LT7                                                        Trustee Name:                               Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                                  Date Filed (f) or Converted (c):            10/10/2008 (c)
For the Period Ending:       5/21/2018                                                           §341(a) Meeting Date:                       11/17/2008
                                                                                                 Claims Bar Date:                            04/29/2009

                         1                               2                     3                          4                         5                         6

                 Asset Description                     Petition/       Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                     Unscheduled      (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                  Value                Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                     Less Liens, Exemptions,                                                         Remaining Assets
                                                                        and Other Costs)

110    WELLS FARGO                  (u)          $0.00                  $219,500.00                                     $219,500.00                                  FA
       LITIGATION
       SETTLEMENTS
       ADVERSARY NOS. 09-90454
Asset Notes:  ADVERSARY NOS. 09-90454-PB (order approving court docket #911) and 09-90452-PB (order approving court docket #912 and #913)
111    GLADSTONE V.                        (u)               $0.00                  $79,897.50                                       $79,897.50                      FA
       CALIFORNIA BANK &
       TRUST
Asset Notes:  order approving court docket #918)
112    BANK OF AMERICA                       (u)          $0.00                    $475,000.00                                      $475,000.00                      FA
       SETTLEMENT
       Adv. 09-90457
Asset Notes:    order approving court docket #920 and #921)
113    AMERICAN EXPRESS                    (u)           $0.00                     $625,000.00                                      $625,000.00                      FA
       SETTLEMENT
Asset Notes:  order approving court docket #926 and #927
114     PETRICH SETTLEMENT                    (u)            $0.00                  $10,000.00                                       $10,000.00                      FA
Asset Notes:  order approving court docket #930)
              8/27/12; Ltr. regarding assignment of commissions sent to Keller Williams Realty, employer of Petrich, 25% of gross commissions to be paid
              to estate until $10,000 is paid.
              619-248-7012
115     UNCLAIMED FUNDS                       (u)       $0.00                      $5,239.19                                         $5,239.19                       FA
        FROM STATE
        CONTROLLER
116    Gladstone v. Michael Winick;           (u)            $0.00                       $0.00                                             $0.00                     FA
       Adv. No. 09-90467-PB;
       judgment of $150,000 entered ;
       non-collectible
Asset Notes:     non-collectible
117    Gladstone v. Citibank, NA;            (u)             $0.00                 $325,000.00                                      $325,000.00                      FA
       Adv. No. 09-90456
Asset Notes:    order approving court docket #991)
118    Creative Capital v. DiNunzio;                   $15,000.00                   $18,000.00                                       $18,000.00                      FA
       Adv. No. 05-90358
Asset Notes:     order approving court docket #1011
119     2013 TAX REFUND                       (u)            $0.00                   $6,000.00                                          $6,000.00                    FA
120    FIRST AMERICAN TITLE                   (u)            $0.00                 $366,197.00                                      $366,197.00                      FA
       COMPANY (mediation
       pending)
Asset Notes:    order approving court docket #1048
121     4651 120th Avenue S., Lake            (u)            $0.00                  $50,000.00                                       $50,000.00                      FA
        Worth, Florida 33461
122     ENTERED IN ERROR                                     $0.00                       $0.00                                             $0.00                     FA
123     ENTERED IN ERROR                                     $0.00                       $0.00                                             $0.00                     FA
124     ENTERED IN ERROR                                     $0.00                       $0.00                                             $0.00                     FA
125     ENTERED IN ERROR                                     $0.00                       $0.00                                             $0.00                     FA
              Case 07-04977-LT7                   Filed 06/13/18          Entered 06/13/18 15:00:04                    Doc 1276              Pg. 31 of
                                                                                                                                              Page No:      7
                                                                         FORM 631
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Exhibit 8
                                                             ASSET CASES
Case No.:                    07-04977-LT7                                                      Trustee Name:                               Leslie T. Gladstone
Case Name:                   CREATIVE CAPITAL LEASING GROUP LLC                                Date Filed (f) or Converted (c):            10/10/2008 (c)
For the Period Ending:       5/21/2018                                                         §341(a) Meeting Date:                       11/17/2008
                                                                                               Claims Bar Date:                            04/29/2009

                         1                              2                     3                         4                           5                       6

                 Asset Description                   Petition/        Estimated Net Value            Property               Sales/Funds              Asset Fully
                  (Scheduled and                   Unscheduled       (Value Determined by            Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                Value                 Trustee,           OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                    Less Liens, Exemptions,                                                        Remaining Assets
                                                                       and Other Costs)

126      ENTERED IN ERROR                                   $0.00                      $0.00                                             $0.00                     FA
127      ENTERED IN ERROR                                   $0.00                      $0.00                                             $0.00                     FA
128      ENTERED IN ERROR                                   $0.00                      $0.00                                             $0.00                     FA
129      ENTERED IN ERROR                                   $0.00                      $0.00                                             $0.00                     FA
130      ENTERED IN ERROR                                   $0.00                      $0.00                                             $0.00                     FA
131      ENTERED IN ERROR                                   $0.00                      $0.00                                             $0.00                     FA
132    DEED OF TRUST FOR 6739               (u)         Unknown                   $35,000.00                                        $35,000.00                     FA
       MORELLA AVE., NORTH
       HOLLYWOOD, CA 91606
       (BLOCK)
Asset Notes:   order approving court docket #1019
133      STENTZ DEED OF TRUST               (u)             $0.00                 $30,000.00                                        $30,000.00                     FA
134    14 Hunter Lane, Farmington,          (u)             $0.00                      $0.00           OA                                $0.00                     FA
       NH
       03835
Asset Notes:    Abandoned pursuant to docket no. 1210


TOTALS (Excluding unknown value)                                                                                                       Gross Value of Remaining Assets
                                                  $40,820,857.00              $3,942,743.88                                       $3,942,743.88                 $0.00




      Major Activities affecting case closing:
       04/02/2018    UNCLAIMED FUNDS SENT TO COURT - ONCE CHECK CLEARED READY FOR TDR


Initial Projected Date Of Final Report (TFR):         06/30/2018                                                 /s/ LESLIE T. GLADSTONE
Current Projected Date Of Final Report (TFR):         06/30/2018                                                 LESLIE T. GLADSTONE
                                        Case 07-04977-LT7         Filed 06/13/18        Entered 06/13/18 15:00:04        Doc 1276            Pg. 32Page
                                                                                                                                                     ofNo: 1                   Exhibit 9
                                                                                         FORM
                                                                                            63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                         Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                   Bank Name:                         Preferred Bank
Primary Taxpayer ID #:            **-***4349                                                                           Checking Acct #:                  ******5378
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    Checking - Non Interest
For Period Beginning:             9/10/2007                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                            Separate bond (if applicable):

       1                2                              3                                          4                                          5                 6                       7

   Transaction       Check /                         Paid to/             Description of Transaction                    Uniform           Deposit       Disbursement                Balance
      Date            Ref. #                      Received From                                                        Tran Code            $                $


01/23/2012                     Trsf In From BANK OF AMERICA         INITIAL WIRE TRANSFER IN                            9999-000        $236,361.75                                   $236,361.75
02/16/2012           1002      HIGGS FLETCHER & MACK                BANK OF AMERICA MEDIATION                           3721-000                                    $500.00           $235,861.75
03/04/2012           1003      HIGGS FLETCHER & MACK                MEDIATOR FEES                                       3721-000                                   $2,499.21          $233,362.54
03/09/2012           1004      Reverses Check # 1004                PRO RATA PORTION OF BOND EXPENSE                    2300-003                                   ($356.65)          $233,719.19
03/09/2012           1004      FINANCIAL LAW GROUP                  PRO RATA PORTION OF BOND EXPENSE                    2300-000                                    $356.65           $233,362.54
03/14/2012           1005      HIGGS FLETCHER & MACK                MEDIATOR FEES                                       3721-000                                   $1,727.50          $231,635.04
03/14/2012           1006      JAFFE RAITT HEUER & WEISS            COURT ORDER 3/8/12                                     *                                    $11,149.00            $220,486.04
                                                                    JAFFE, RAITT, HEUER & WEISS         $(10,692.00)    3210-000                                                      $220,486.04
                                                                    JAFFE, RAITT, HEUER & WEISS            $(457.00)    3220-000                                                      $220,486.04
03/14/2012           1007      FINANCIAL LAW GROUP                  COURT ORDER 3/8/12                                     *                                   $120,115.17            $100,370.87
                                                                    FINANCIAL LAW GROUP - CAB          $(119,549.98)    3110-000                                                      $100,370.87
                                                                    FEES
                                                                    FINANCIAL LAW GROUP -                  $(565.19)    3120-000                                                      $100,370.87
                                                                    EXPENSES
03/14/2012           1008      Mintz Levin                          COURT ORDER 3/8/12                                     *                                    $24,915.19             $75,455.68
                                                                    MINTZ LEVIN COHN FERRIS             $(21,728.35)    3210-000                                                       $75,455.68
                                                                    GLOVSKY POP, Fees
                                                                    MINTZ LEVIN COHN FERRIS              $(3,186.84)    3220-000                                                       $75,455.68
                                                                    GLOVSKY POP, Expenses
03/27/2012           (110)     MULVANEY KAHAN & BARRY               LITIGATION SETTLEMENT                               1241-000        $155,000.00                                   $230,455.68
03/27/2012           (110)     WELLS FARGO BANK                     LITIGATION SETTLEMENT                               1241-000          $64,500.00                                  $294,955.68
03/27/2012                     JAFFE RAITT HEUER & WEISS            OVERPAYMENT                                         3210-000                                ($5,000.00)           $299,955.68
04/16/2012           1009      FRANCHISE TAX BOARD                  XX-XXXXXXX                                          2820-000                                   $1,600.00          $298,355.68
04/16/2012           1010      FRANCHISE TAX BOARD                  XX-XXXXXXX                                          2820-000                                    $800.00           $297,555.68
04/16/2012           1011      FRANCHISE TAX BOARD                  XX-XXXXXXX                                          2820-000                                   $2,500.00          $295,055.68
04/17/2012           1012      ARTES MEDICAL                        ENTRY ERRORS                                        8500-000                                $26,200.00            $268,855.68
04/18/2012           1013      HIGGS FLETCHER & MACK                MEDIATOR FEES                                       3721-000                                   $1,322.50          $267,533.18
05/14/2012           1014      HIGGS FLETCHER & MACK                MEDIATOR FEES                                       3721-000                                    $500.00           $267,033.18
07/07/2012           (111)     CALIFORNIA BANK AND TRUST            LITIGATION SETTLEMENT                               1241-000          $79,897.50                                  $346,930.68

                                                                                                                       SUBTOTALS          $535,759.25       $188,828.57
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04        Doc 1276            Pg. 33Page
                                                                                                                                                       ofNo: 2                   Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                           Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                     Bank Name:                         Preferred Bank
Primary Taxpayer ID #:            **-***4349                                                                             Checking Acct #:                  ******5378
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    Checking - Non Interest
For Period Beginning:             9/10/2007                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                              Separate bond (if applicable):

       1                2                              3                                             4                                         5                 6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                     Uniform           Deposit       Disbursement                Balance
      Date            Ref. #                      Received From                                                          Tran Code            $                $


07/19/2012           (112)     BANK OF AMERICA                      LITIGATION SETTLEMENT                                 1241-000         $244,190.27                                  $591,120.95
08/07/2012           (113)     AM EX TRAVEL RELATED SERVICES        LITIGATION SETTLEMENT                                 1241-000          $56,250.00                                  $647,370.95
08/07/2012           (113)     AM EX TRAVEL RELATED SERVICES        LITIGATION SETTLEMENT                                 1241-000          $75,000.00                                  $722,370.95
08/07/2012           (113)     AM EX TRAVEL RELATED SERVICES        LITIGATION SETTLEMENT                                 1241-000         $493,750.00                                $1,216,120.95
08/08/2012           1015      FINANCIAL LAW GROUP                  BALANCE OF FEES OWED                                     *                                    $50,670.52          $1,165,450.43
                                                                    FINANCIAL LAW GROUP - CAB             $(41,842.52)    3110-000                                                    $1,165,450.43
                                                                    FEES
                                                                    FINANCIAL LAW GROUP - LTG              $(3,907.50)    3110-000                                                    $1,165,450.43
                                                                    FEES
                                                                    FINANCIAL LAW GROUP - CC FEES          $(2,345.50)    3110-000                                                    $1,165,450.43
                                                                    FINANCIAL LAW GROUP - SY FEES           $(875.00)     3110-000                                                    $1,165,450.43
                                                                    FINANCIAL LAW GROUP - MN FEES          $(1,700.00)    3110-000                                                    $1,165,450.43
08/08/2012           1016      Mintz Levin                          BALANCE OF FEES OWED                                  3210-000                               $200,173.20            $965,277.23
08/08/2012           1017      LESLIE GLADSTONE                     COURT ORDER 3/8/12                                       *                                    $76,595.85            $888,681.38
                                                                    Leslie T. Gladstone - Fees            $(74,187.31)    2100-000                                                      $888,681.38
                                                                    Leslie T. Gladstone - Expenses         $(2,408.54)    2200-000                                                      $888,681.38
08/08/2012           1018      Sean C. Coughlin                     BALANCE OF FEES OWED                                  3210-000                                   $7,346.10          $881,335.28
08/08/2012           1019      CORPORATE RECOVERY ASSOCIATES        BALANCE OF FEES OWED                                  3731-000                               $161,228.41            $720,106.87
08/08/2012           1020      Gordon & Rees                        BALANCE OF FEES OWED                                  3210-000                               $207,840.30            $512,266.57
08/09/2012           1021      HIGGS FLETCHER & MACK                MEDIATOR FEES                                         3721-000                                   $1,435.00          $510,831.57
08/20/2012           (112)     BANK OF AMERICA                      LITIGATION SETTLEMENT                                 1241-000         $230,809.73                                  $741,641.30
09/14/2012           (114)     KELLER WILLIAMS REALTY EL CAJON      pETRICH COMMISSIONS                                   1249-000            $178.61                                   $741,819.91
09/26/2012           1022      FINANCIAL LAW GROUP                  BOND PREMIUM                                          2300-000                                    $601.96           $741,217.95
10/16/2012           (114)     KELLER WILLIAMS                      ROBERT PETRICH SETTLEMENT                             1249-000              $50.00                                  $741,267.95
10/23/2012           (114)     KELLER WILLIAMS                      ROBERT PETRICH SETTLEMENT                             1249-000            $285.77                                   $741,553.72
10/23/2012           (114)     KELLER WILLIAMS                      ROBERT PETRICH SETTLEMENT                             1249-000           $2,500.00                                  $744,053.72
10/31/2012           (114)     KELLER WILLIAMS REALTY EL CAJON      pETRICH COMMISSIONS                                   1249-000            $798.65                                   $744,852.37
11/02/2012           ( 115)    STATE OF CALIFORNIA                  UNCLAIMED FUNDS                                       1221-000           $5,239.19                                  $750,091.56
11/20/2012           (114)     KELLER WILLIAMS REALTY EL CAJON      pETRICH COMMISSIONS                                   1249-000              $95.49                                  $750,187.05

                                                                                                                         SUBTOTALS        $1,109,147.71       $705,891.34
                                        Case 07-04977-LT7       Filed 06/13/18         Entered 06/13/18 15:00:04        Doc 1276           Pg. 34Page
                                                                                                                                                   ofNo: 3                   Exhibit 9
                                                                                        FORM
                                                                                           63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                        Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                  Bank Name:                         Preferred Bank
Primary Taxpayer ID #:            **-***4349                                                                          Checking Acct #:                  ******5378
Co-Debtor Taxpayer ID #:                                                                                              Account Title:                    Checking - Non Interest
For Period Beginning:             9/10/2007                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                           Separate bond (if applicable):

       1                2                            3                                           4                                         5                 6                       7

   Transaction       Check /                       Paid to/              Description of Transaction                    Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                    Received From                                                         Tran Code            $                $


11/20/2012           1023      Gordon & Rees                       COURT ORDER 11/14/12                                   *                                   $78,331.22            $671,855.83
                                                                   JEFFREY D. CAWDREY, Fees            $(78,014.50)    3210-000                                                     $671,855.83
                                                                   JEFFREY D. CAWDREY, Expenses           $(316.72)    3220-000                                                     $671,855.83
11/28/2012           1024      Mintz Levin                         COURT ORDER 11/21/12                                   *                                  $119,941.12            $551,914.71
                                                                   MINTZ LEVIN COHN FERRIS            $(110,660.50)    3210-000                                                     $551,914.71
                                                                   FLOVSKY POP, Fees
                                                                   MINTZ LEVIN COHN FERRIS              $(9,280.62)    3220-000                                                     $551,914.71
                                                                   FLOVSKY POP, Expenses
12/04/2012           (114)     KELLER WILLIAMS                     ROBERT PETRICH SETTLEMENT                           1249-000          $2,500.00                                  $554,414.71
12/05/2012           (114)     KELLER WILLIAMS                     ROBERT PETRICH SETTLEMENT                           1249-000            $197.90                                  $554,612.61
12/07/2012                     Mintz Levin                         COST OVERPAYMENT                                    3220-000                               ($3,000.00)           $557,612.61
12/23/2012           (114)     KELLER WILLIAMS                     ROBERT PETRICH SETTLEMENT                           1249-000            $223.65                                  $557,836.26
12/23/2012           (114)     KELLER WILLIAMS                     ROBERT PETRICH SETTLEMENT                           1249-000            $393.75                                  $558,230.01
12/23/2012           (114)     KELLER WILLIAMS                     ROBERT PETRICH SETTLEMENT                           1249-000             $57.30                                  $558,287.31
01/04/2013           (114)     KELLER WILLIAMS                     ROBERT PETRICH SETTLEMENT                           1249-000            $998.76                                  $559,286.07
01/18/2013           (114)     ROBERT PETRICH                      LITIGATION SETTLEMENT                               1241-000          $1,720.12                                  $561,006.19
02/12/2013                     PREFERRED BANK                      BANK SERVICE FEE                                    2600-000                                   $582.79           $560,423.40
02/15/2013           1025      FINANCIAL LAW GROUP                 BOND REIMBURSEMENT                                  2300-000                                   $772.38           $559,651.02
03/01/2013                     PREFERRED BANK                      BANK SERVICE FEE                                    2600-000                                   $583.73           $559,067.29
04/01/2013                     Preferred Bank                      BANK SERVICE FEE                                    2600-000                                   $582.36           $558,484.93
04/11/2013           1026      FRANCHISE TAX BOARD                 2012 FORM 568                                       2820-000                                  $3,500.00          $554,984.93
04/11/2013           1027      FRANCHISE TAX BOARD                 TAXES                                               2820-000                                   $800.00           $554,184.93
04/11/2013           1028      FRANCHISE TAX BOARD                 TAXES                                               2820-000                                  $6,000.00          $548,184.93
05/01/2013                     Preferred Bank                      BANK SERVICE FEE                                    2600-000                                   $581.04           $547,603.89
06/03/2013                     Preferred Bank                      BANK SERVICE FEE                                    2600-000                                   $570.42           $547,033.47
06/17/2013                     Trsf To UNION BANK                  FINAL TRANSFER                                      9999-000                              $547,033.47                    $0.00




                                                                                                                      SUBTOTALS           $6,091.48        $756,278.53
                                       Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04                   Doc 1276           Pg. 35Page
                                                                                                                                                                 ofNo: 4                   Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          07-04977-LT7                                                                                     Trustee Name:                         Leslie T. Gladstone
Case Name:                        CREATIVE CAPITAL LEASING GROUP LLC                                                               Bank Name:                            Preferred Bank
Primary Taxpayer ID #:            **-***4349                                                                                       Checking Acct #:                      ******5378
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                        Checking - Non Interest
For Period Beginning:             9/10/2007                                                                                        Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                5/21/2018                                                                                        Separate bond (if applicable):

      1                 2                                3                                          4                                                    5                   6                       7

  Transaction        Check /                         Paid to/               Description of Transaction                              Uniform           Deposit          Disbursement                Balance
     Date             Ref. #                      Received From                                                                    Tran Code            $                   $


                                                                                      TOTALS:                                                       $1,650,998.44         $1,650,998.44                      $0.00
                                                                                          Less: Bank transfers/CDs                                    $236,361.75           $547,033.47
                                                                                      Subtotal                                                      $1,414,636.69         $1,103,964.97
                                                                                          Less: Payments to debtors                                         $0.00                 $0.00
                                                                                      Net                                                           $1,414,636.69         $1,103,964.97



                     For the period of 9/10/2007 to 5/21/2018                                                   For the entire history of the account between 01/16/2012 to 5/21/2018

                     Total Compensable Receipts:                   $1,414,636.69                                Total Compensable Receipts:                             $1,414,636.69
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $1,414,636.69                                Total Comp/Non Comp Receipts:                           $1,414,636.69
                     Total Internal/Transfer Receipts:               $236,361.75                                Total Internal/Transfer Receipts:                         $236,361.75


                     Total Compensable Disbursements:              $1,103,964.97                                Total Compensable Disbursements:                        $1,103,964.97
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $1,103,964.97                                Total Comp/Non Comp Disbursements:                      $1,103,964.97
                     Total Internal/Transfer Disbursements:          $547,033.47                                Total Internal/Transfer Disbursements:                    $547,033.47
                                        Case 07-04977-LT7          Filed 06/13/18         Entered 06/13/18 15:00:04                    Doc 1276            Pg. 36Page
                                                                                                                                                                   ofNo: 5                 Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                       Trustee Name:                       Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                                 Bank Name:                          UNION BANK
Primary Taxpayer ID #:            **-***4349                                                                                         Checking Acct #:                    ******8515
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                      Checking - Non Interest
For Period Beginning:             9/10/2007                                                                                          Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                5/21/2018                                                                                          Separate bond (if applicable):

       1                2                                3                                          4                                                      5                 6                       7

   Transaction       Check /                          Paid to/              Description of Transaction                                Uniform           Deposit        Disbursement                Balance
      Date            Ref. #                       Received From                                                                     Tran Code            $                 $


06/17/2013                     Trsf In From Preferred Bank           INITIAL WIRE TRANSFER IN                                        9999-000         $547,033.47                                   $547,033.47
07/25/2013                     UNION BANK                            BANK SERVICE FEE                                                2600-000                                    $340.96            $546,692.51
08/26/2013                     UNION BANK                            BANK SERVICE FEE                                                2600-000                                    $812.94            $545,879.57
09/25/2013                     UNION BANK                            BANK SERVICE FEE                                                2600-000                                    $812.32            $545,067.25
10/25/2013                     UNION BANK                            BANK SERVICE FEE                                                2600-000                                    $784.94            $544,282.31
11/06/2013           100001    Gordon & Rees                         COURT ORDER 11/6/13                                                 *                                    $51,734.52            $492,547.79
                                                                     JEFFREY D. CAWDREY, Fees                         $(51,035.50)   3210-000                                                       $492,547.79
                                                                     JEFFREY D. CAWDREY, Expenses                       $(699.02)    3220-000                                                       $492,547.79
11/25/2013                     UNION BANK                            BANK SERVICE FEE                                                2600-000                                    $809.87            $491,737.92
12/26/2013                     UNION BANK                            BANK SERVICE FEE                                                2600-000                                    $735.51            $491,002.41
01/10/2014                     East West Bank                        Transfer Funds                                                  9999-000                                $491,002.41                     $0.00

                                                                                      TOTALS:                                                           $547,033.47         $547,033.47                      $0.00
                                                                                          Less: Bank transfers/CDs                                      $547,033.47         $491,002.41
                                                                                      Subtotal                                                                $0.00          $56,031.06
                                                                                          Less: Payments to debtors                                           $0.00               $0.00
                                                                                      Net                                                                     $0.00          $56,031.06



                     For the period of 9/10/2007 to 5/21/2018                                                   For the entire history of the account between 06/12/2013 to 5/21/2018

                     Total Compensable Receipts:                           $0.00                                Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                         $0.00                                Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:               $547,033.47                                Total Internal/Transfer Receipts:                         $547,033.47


                     Total Compensable Disbursements:                 $56,031.06                                Total Compensable Disbursements:                           $56,031.06
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:               $56,031.06                                Total Comp/Non Comp Disbursements:                         $56,031.06
                     Total Internal/Transfer Disbursements:          $491,002.41                                Total Internal/Transfer Disbursements:                    $491,002.41
                                        Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04     Doc 1276           Pg. 37Page
                                                                                                                                                    ofNo: 6                 Exhibit 9
                                                                                            FORM
                                                                                               63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                         Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                   Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                           Money Market Acct #:              ******8037
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    Money Market - Interest Bearing
For Period Beginning:             9/10/2007                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                            Separate bond (if applicable):

       1                2                               3                                           4                                       5                 6                     7

   Transaction       Check /                          Paid to/              Description of Transaction                  Uniform          Deposit        Disbursement             Balance
      Date            Ref. #                       Received From                                                       Tran Code           $                 $


11/20/2008            (1)      UNION BANK                            BANK ACCOUNT                                       1229-000        $147,022.95                                $147,022.95
11/20/2008            (2)      UNION BANK                            BANK ACCOUNT                                       1229-000         $79,286.49                                $226,309.44
11/20/2008            (3)      UNION BANK                            BANK ACCOUNT                                       1229-000          $1,109.71                                $227,419.15
11/20/2008            (4)      UNION BANK                            BANK ACCOUNT                                       1229-000         $18,920.00                                $246,339.15
11/20/2008            (5)      UNION BANK                            BANK ACCOUNT                                       1229-000          $2,826.49                                $249,165.64
11/24/2008            ( 6)     DINUNZIO CASE                         LITIGATION SETTLEMENT                              1241-000        $103,347.11                                $352,512.75
11/28/2008            ( 7)     BANK OF AMERICA                       Interest Rate 0.100                                1270-000                $3.32                              $352,516.07
12/19/2008            ( 8)     STATE OF CALIFORNIA                   TAX REFUND                                         1129-000            $751.13                                $353,267.20
12/31/2008            ( 7)     BANK OF AMERICA                       Interest Rate 0.030                                1270-000             $20.41                                $353,287.61
01/27/2009            (9)      AT&T                                  VENDOR REFUND                                      1221-000            $709.68                                $353,997.29
01/30/2009            ( 7)     BANK OF AMERICA                       Interest Rate 0.030                                1270-000                $9.00                              $354,006.29
02/02/2009           ( 10)     LIPUMA CLASS ACTION                   ACCOUNTS RECEIVABLE COLLECTION                     1249-000             $13.37                                $354,019.66
02/12/2009           ( 11)     GREENWAY TITLE                        LEASE PAYMENT                                      1221-000         $50,000.00                                $404,019.66
02/25/2009           ( 12)     EMIL'S AUTO BODY                      ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $500.00                                $404,519.66
02/27/2009            ( 7)     BANK OF AMERICA                       Interest Rate 0.030                                1270-000                $8.50                              $404,528.16
03/06/2009           ( 12)     Reverses Deposit # 11                 ACCOUNTS RECEIVABLE COLLECTION                     1221-000           ($500.00)                               $404,028.16
03/25/2009           ( 12)     EMIL'S AUTO BODY                      REDEPOSITED BY BANK                                1221-000            $500.00                                $404,528.16
03/31/2009            ( 7)     BANK OF AMERICA                       Interest Rate 0.030                                1270-000             $10.30                                $404,538.46
03/31/2009           ( 12)     Reverses Deposit # 12                 REDEPOSITED BY BANK                                1221-000           ($500.00)                               $404,038.46
04/09/2009            (9)      SDGE                                  VENDOR REFUND                                      1229-000            $375.82                                $404,414.28
04/09/2009            (9)      SDGE                                  VENDOR REFUND                                      1229-000             $17.16                                $404,431.44
04/09/2009           ( 12)     WALTER CHUNG                          ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $100.00                                $404,531.44
04/09/2009           ( 12)     WALTER CHUNG                          ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $353.20                                $404,884.64
04/30/2009            ( 7)     BANK OF AMERICA                       Interest Rate 0.070                                1270-000             $23.28                                $404,907.92
05/13/2009            101      A1 SELF STORAGE                       UNIT 241                                           2420-000                                   $52.50          $404,855.42
05/29/2009            ( 7)     BANK OF AMERICA                       Interest Rate 0.070                                1270-000             $24.07                                $404,879.49
06/01/2009            102      A1 SELF STORAGE                       UNIT 241                                           2420-000                                   $52.50          $404,826.99
06/01/2009            103      FRANCHISE TAX BOARD                   XX-XXXXXXX                                         4800-000                                  $800.00          $404,026.99
                                                                                                                       SUBTOTALS        $404,931.99               $905.00
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04     Doc 1276           Pg. 38Page
                                                                                                                                                   ofNo: 7                   Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                        Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                  Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                          Money Market Acct #:              ******8037
Co-Debtor Taxpayer ID #:                                                                                              Account Title:                    Money Market - Interest Bearing
For Period Beginning:             9/10/2007                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                           Separate bond (if applicable):

       1                2                                3                                         4                                       5                 6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                  Uniform          Deposit        Disbursement               Balance
      Date            Ref. #                      Received From                                                       Tran Code           $                 $


06/03/2009            104      FINANCIAL LAW GROUP                  BOND PAYMENTS                                      2300-000                                   $562.82           $403,464.17
06/08/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                  $1,019.15          $402,445.02
06/16/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                    $97.50           $402,347.52
06/16/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                    $20.00           $402,327.52
06/26/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                   $283.20           $402,044.32
06/30/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.070                                1270-000             $23.20                                  $402,067.52
07/22/2009            (23)     STEWART TITLE                        ROBY SETTLEMENT                                    1121-000         $79,928.76                                  $481,996.28
07/22/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                    $75.00           $481,921.28
07/31/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.070                                1270-000             $24.67                                  $481,945.95
08/13/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                               $18,891.37            $463,054.58
08/13/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                    $75.00           $462,979.58
08/31/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.070                                1270-000             $28.11                                  $463,007.69
09/28/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                    $75.00           $462,932.69
09/30/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.070                                1270-000             $26.64                                  $462,959.33
10/07/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                  $7,500.00          $455,459.33
10/30/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.070                                1270-000             $27.16                                  $455,486.49
11/25/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                              $377,000.00             $78,486.49
11/30/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                1270-000             $21.61                                   $78,508.10
12/06/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                   $226.92            $78,281.18
12/28/2009                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                    $90.00            $78,191.18
12/31/2009            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                1270-000                $3.33                                 $78,194.51
01/19/2010                     Transfer to Acct #******3313         Bank Funds Transfer                                9999-000                                  $9,322.07           $68,872.44
01/29/2010            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                1270-000                $3.15                                 $68,875.59
02/07/2010            105      WELLS FARGO                          SUBPOENA COSTS                                     2990-000                                   $200.40            $68,675.19
02/26/2010            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                1270-000                $2.64                                 $68,677.83
03/20/2010            (9)      ALLIANT INSURANCE SERVICES           ACCOUNTS RECEIVABLE COLLECTION                     1121-002          $3,103.07                                   $71,780.90
03/31/2010            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                1270-000                $2.95                                 $71,783.85
04/30/2010            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                1270-000                $2.95                                 $71,786.80
                                                                                                                      SUBTOTALS          $83,198.24        $415,438.43
                                        Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04     Doc 1276           Pg. 39Page
                                                                                                                                                    ofNo: 8                   Exhibit 9
                                                                                            FORM
                                                                                               63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                         Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                   Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                           Money Market Acct #:              ******8037
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    Money Market - Interest Bearing
For Period Beginning:             9/10/2007                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                            Separate bond (if applicable):

       1                2                                3                                          4                                       5                 6                       7

   Transaction       Check /                          Paid to/              Description of Transaction                  Uniform          Deposit        Disbursement               Balance
      Date            Ref. #                       Received From                                                       Tran Code           $                 $


05/28/2010            ( 7)     BANK OF AMERICA                       Interest Rate 0.050                                1270-000                $3.04                                 $71,789.84
06/07/2010           ( 12)     EMIL'S AUTO BODY                      ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $500.00                                   $72,289.84
06/07/2010           ( 12)     EMIL'S AUTO BODY                      ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $500.00                                   $72,789.84
06/10/2010           ( 12)     EMIL'S AUTO BODY                      ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $500.00                                   $73,289.84
06/18/2010           ( 12)     Reverses Deposit # 19                 ACCOUNTS RECEIVABLE COLLECTION                     1221-000           ($500.00)                                  $72,789.84
06/29/2010           ( 12)     EMIL'S AUTO BODY                      REDEPOSIT                                          1221-000            $500.00                                   $73,289.84
06/30/2010            ( 7)     BANK OF AMERICA                       Interest Rate 0.050                                1270-000                $2.98                                 $73,292.82
07/13/2010           ( 12)     EMIL'S AUTO BODY                      ACCOUNTS RECEIVABLE COLLECTION                     1221-000            $500.00                                   $73,792.82
07/19/2010                     Transfer from Acct #******3313        Bank Funds Transfer                                9999-000         $59,215.00                                  $133,007.82
07/30/2010            ( 7)     BANK OF AMERICA                       Interest Rate 0.050                                1270-000                $4.17                                $133,011.99
08/16/2010            (91)     E&F SEPTIC                            LITIGATION SETTLEMENT                              1221-000         $12,000.00                                  $145,011.99
08/19/2010            (92)     LUBRON SETTLEMENT                     LITIGATION SETTLEMENT                              1229-000        $150,000.00                                  $295,011.99
08/31/2010            ( 7)     BANK OF AMERICA                       Interest Rate 0.070                                1270-000             $10.97                                  $295,022.96
09/01/2010            106      ESQUIRE                               INV EQ97070                                        2990-000                                  $3,297.55          $291,725.41
09/01/2010            107      SHELBURNE SHERR COURT                 MICHAEL WINICK                                     2990-000                                  $3,502.37          $288,223.04
                               REPORTERS
09/13/2010            108      ISRAEL INVESTIGATORS                  WIRE - OTHER CHARPTER 7 ADMINISTRATIVE             2990-000                                   $740.00           $287,483.04
                                                                     EXPENSES
09/16/2010                     FINANCIAL LAW GROUP                   BOND PREMIUM                                       2300-000                                   $206.79           $287,276.25
09/17/2010            (93)     HSBC                                  LITIGATION SETTLEMENT                              1229-000          $9,217.15                                  $296,493.40
09/24/2010            (94)     RUDOLPH IRREVOCABLE TRUST             LITIGATION SETTLEMENT                              1229-000         $20,000.00                                  $316,493.40
09/26/2010                     Transfer to Acct #******3313          Bank Funds Transfer                                9999-000                                     $29.10          $316,464.30
09/30/2010            ( 7)     BANK OF AMERICA                       Interest Rate 0.070                                1270-000             $16.93                                  $316,481.23
10/06/2010            (95)     TRI-VALLEY TOWING                     LITIGATION SETTLEMENT                              1229-000         $25,000.00                                  $341,481.23
10/29/2010            ( 7)     BANK OF AMERICA                       Interest Rate 0.070                                1270-000             $19.76                                  $341,500.99




                                                                                                                       SUBTOTALS        $277,490.00               $7,775.81
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04        Doc 1276           Pg. 40Page
                                                                                                                                                      ofNo: 9                   Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                           Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                     Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                             Money Market Acct #:              ******8037
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    Money Market - Interest Bearing
For Period Beginning:             9/10/2007                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                              Separate bond (if applicable):

       1                2                                3                                         4                                          5                 6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                     Uniform          Deposit        Disbursement               Balance
      Date            Ref. #                      Received From                                                          Tran Code           $                 $


11/17/2010                     MCCORMACK AUCTION                    SALE OF ESTATE PROPERTY                                  *              $7,181.00                                  $348,681.99
                                                                    AUCTION EXPENSES                         $(469.00)    3620-000                                                     $348,681.99
                                                                    AUCTION COMMISSION                       $(850.00)    3610-000                                                     $348,681.99
                     { 96}                                          SALE OF ESTATE PROPERTY                 $8,500.00     1229-000                                                     $348,681.99
11/23/2010                     Transfer to Acct #******3313         Bank Funds Transfer                                   9999-000                              $238,260.65            $110,421.34
11/30/2010            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                   1270-000             $15.62                                  $110,436.96
12/31/2010            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                   1270-000                $4.69                                $110,441.65
01/04/2011            109      MARICOPA COUNTY TREASURER            COURT APPROVED SETTLEMENT AMOUNT                      2820-000                               $15,360.62             $95,081.03
                                                                    DOCKET NO. 787
01/10/2011           ( 97)     Mintz Levin                          ACE SETTLEMENT ENTRY ERROR; REVERS                    1241-000         $14,800.00                                  $109,881.03
01/10/2011           ( 98)     Mintz Levin                          CDW SETTLEMENT; ENTRY ERROR; REVERS                   1241-000         $11,400.00                                  $121,281.03
01/13/2011            110      HIGGS FLETCHER & MACK                MEDIATION FEES                                        3721-000                                   $800.00           $120,481.03
01/25/2011            (99)     BMW FINANCIAL                        LITIGATION SETTLEMENT                                 1241-000         $11,500.00                                  $131,981.03
01/31/2011            ( 7)     BANK OF AMERICA                      Interest Rate 0.050                                   1270-000                $5.10                                $131,986.13
02/02/2011           (100)     EMIL'S BODY WORKS                    LITIGATION SETTLEMENT                                 1241-000         $14,000.00                                  $145,986.13
02/07/2011            111      JAFFE RAITT HEUER & WEISS            RETAINER CHECK                                        3210-000                                  $5,000.00          $140,986.13
02/17/2011           (101)     COIT SETTLEMENT                      LITIGATION SETTLEMENT                                 1221-000        $100,000.00                                  $240,986.13
02/28/2011            ( 7)     BANK OF AMERICA                      Interest Rate 0.010                                   1270-000                $1.44                                $240,987.57
03/30/2011                     INTERNATIONAL SURETIES               BOND PREMIUM                                          2300-000                                   $376.96           $240,610.61
03/31/2011           (102)     Mintz Levin                          SETTLEMENT                                            1241-000        $437,500.00                                  $678,110.61
03/31/2011            112      Mintz Levin                          INTERIM FEE PAYMENT                                      *                                  $294,619.83            $383,490.78
                                                                    MINTZ LEVIN                          $(273,341.25)    3210-000                                                     $383,490.78
                                                                    MINTZ LEVIN                           $(21,278.58)    3220-000                                                     $383,490.78
04/04/2011           (100)     EMILS AUTO BODY                      LITIGATION SETTLEMENT                                 1241-000          $6,000.00                                  $389,490.78
04/18/2011                     Transfer to Acct #******3313         Bank Funds Transfer                                   9999-000                                  $2,600.00          $386,890.78
05/05/2011           (103)     STANFORD AND ASSOCIATES              LITIGATION SETTLEMENT                                 1241-000         $17,500.00                                  $404,390.78
05/10/2011           (104)     BANK OF JERUSALEM                    LITIGATION SETTLEMENT                                 1241-000         $45,000.00                                  $449,390.78
05/18/2011            113      BROWN COUNTY TREASURER               PROPERTY TAXES                                        4700-000                                   $848.44           $448,542.34


                                                                                                                         SUBTOTALS        $664,907.85         $557,866.50
                                        Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04     Doc 1276           Pg. 41Page
                                                                                                                                                    ofNo: 10                Exhibit 9
                                                                                            FORM
                                                                                               63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                         Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                   Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                           Money Market Acct #:              ******8037
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    Money Market - Interest Bearing
For Period Beginning:             9/10/2007                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                            Separate bond (if applicable):

       1                2                                3                                          4                                       5                6                      7

   Transaction       Check /                          Paid to/              Description of Transaction                  Uniform          Deposit        Disbursement             Balance
      Date            Ref. #                       Received From                                                       Tran Code           $                 $


08/22/2011           ( 105)    STATE OF CALIFORNIA                   UNCLAIMED FUNDS                                    1221-000            $139.37                                $448,681.71
09/27/2011           (106)     SAMUEL GOLDSTEIN                      LITIGATION SETTLEMENT                              1241-000         $15,000.00                                $463,681.71
10/04/2011            114      BROWN COUNTY (INDIANA)                LIEN PAY                                           4700-000                               $15,014.14          $448,667.57
                               AUDITOR
10/13/2011           ( 107)    COUNTY OF OAKLAND                     FORECLOSURE PROCEEDS                               1221-000         $30,100.00                                $478,767.57
10/16/2011            115      BROWN COUNTY WIRE TRANSFER            WIRE TRANSFER TAX PYMT                             2820-000                                 $616.28           $478,151.29
10/31/2011                     BANK OF AMERICA                       BANK SERVICE FEE                                   2600-000                                 $592.01           $477,559.28
11/18/2011           (108)     CHASE                                 LITIGATION SETTLEMENT                              1241-000        $150,000.00                                $627,559.28
11/20/2011                     Transfer to Acct #******3313          Bank Funds Transfer                                9999-000                            $459,831.72            $167,727.56
11/30/2011                     BANK OF AMERICA                       BANK SERVICE FEE                                   2600-000                                 $417.92           $167,309.64
12/16/2011                     BANK OF AMERICA                       BANK SERVICE FEE                                   2600-000                                  $10.00           $167,299.64
12/19/2011           ( 109)    WIRE TRANSFER                         BROWN COUNTY SALE                                  1210-000         $70,038.74                                $237,338.38
12/19/2011                     BANK OF AMERICA                       BANK SERVICE FEE                                   2600-000                                 ($10.00)          $237,348.38
12/30/2011                     BANK OF AMERICA                       BANK SERVICE FEE                                   2600-000                                 $249.45           $237,098.93
01/10/2012            116      HIGGS FLETCHER & MACK                 MEDIATION FEES                                     3721-000                                 $500.00           $236,598.93
01/20/2012                     Transfer to Acct #******3313          TRANSFER TO WRITE CHECKS                           9999-000                                 $237.18           $236,361.75
01/23/2012                     Trsf To Preferred Bank                FINAL TRANSFER                                     9999-000                            $236,361.75                    $0.00




                                                                                                                       SUBTOTALS        $265,278.11         $713,820.45
                                       Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04                   Doc 1276           Pg. 42Page
                                                                                                                                                                 ofNo: 11                 Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          07-04977-LT7                                                                                     Trustee Name:                         Leslie T. Gladstone
Case Name:                        CREATIVE CAPITAL LEASING GROUP LLC                                                               Bank Name:                            BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                                       Money Market Acct #:                  ******8037
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                        Money Market - Interest Bearing
For Period Beginning:             9/10/2007                                                                                        Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                5/21/2018                                                                                        Separate bond (if applicable):

      1                 2                                3                                          4                                                    5                   6                     7

  Transaction        Check /                         Paid to/               Description of Transaction                              Uniform           Deposit          Disbursement             Balance
     Date             Ref. #                      Received From                                                                    Tran Code            $                   $


                                                                                      TOTALS:                                                       $1,695,806.19         $1,695,806.19                    $0.00
                                                                                          Less: Bank transfers/CDs                                     $59,215.00         $1,351,995.61
                                                                                      Subtotal                                                      $1,636,591.19           $343,810.58
                                                                                          Less: Payments to debtors                                         $0.00                 $0.00
                                                                                      Net                                                           $1,636,591.19           $343,810.58



                     For the period of 9/10/2007 to 5/21/2018                                                   For the entire history of the account between 11/20/2008 to 5/21/2018

                     Total Compensable Receipts:                   $1,634,807.12                                Total Compensable Receipts:                             $1,634,807.12
                     Total Non-Compensable Receipts:                   $3,103.07                                Total Non-Compensable Receipts:                             $3,103.07
                     Total Comp/Non Comp Receipts:                 $1,637,910.19                                Total Comp/Non Comp Receipts:                           $1,637,910.19
                     Total Internal/Transfer Receipts:                $59,215.00                                Total Internal/Transfer Receipts:                          $59,215.00


                     Total Compensable Disbursements:                $345,129.58                                Total Compensable Disbursements:                          $345,129.58
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $345,129.58                                Total Comp/Non Comp Disbursements:                        $345,129.58
                     Total Internal/Transfer Disbursements:        $1,351,995.61                                Total Internal/Transfer Disbursements:                  $1,351,995.61
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04        Doc 1276           Pg. 43Page
                                                                                                                                                      ofNo: 12                 Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                           Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                     Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                             Checking Acct #:                  ******3313
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    Checking - Non Interest
For Period Beginning:             9/10/2007                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                              Separate bond (if applicable):

       1                2                               3                                          4                                           5               6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                     Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                      Received From                                                          Tran Code            $                $


06/08/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000           $1,019.15                                     $1,019.15
06/08/2009           1001      STEWART FORECLOSURE SERVICES         FORECLOSURE FEES                                      3991-000                                 $1,019.15                   $0.00
06/16/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000             $97.50                                        $97.50
06/16/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000             $20.00                                       $117.50
06/16/2009           1002      A1 SELF STORAGE                      6/27/09 PAYMENT                                       2420-000                                   $97.50                  $20.00
06/16/2009           1003      FRANCHISE TAX BOARD                  REQUEST FOR RETURN                                    2990-000                                   $20.00                    $0.00
06/26/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000            $283.20                                       $283.20
06/26/2009           1004      CALIFORNIA BANK & TRUST              SUBPOENA FEES                                         2990-000                                  $283.20                    $0.00
07/22/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000             $75.00                                        $75.00
07/22/2009           1005      A1 SELF STORAGE                      7/27/09 PAYMENT                                       2420-000                                   $75.00                    $0.00
08/13/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000          $18,891.37                                 $18,891.37
08/13/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000             $75.00                                  $18,966.37
08/13/2009           1006      JOHN L SMAHA                         PER COURT ORDER 5/6/09                                   *                                   $18,891.37                  $75.00
                                                                    Fees                                  $(17,948.36)    6210-000                                                           $75.00
                                                                    Expenses                                $(943.01)     6220-000                                                           $75.00
08/13/2009           1007      A1 SELF STORAGE                      8/27/09 PAYMENT                                       2420-000                                   $75.00                    $0.00
09/28/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000             $75.00                                        $75.00
09/28/2009           1008      A1 SELF STORAGE                      8/27/09 PAYMENT                                       2420-000                                   $75.00                    $0.00
10/07/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000           $7,500.00                                     $7,500.00
10/07/2009           1009      US BANKRUPTCY COURT                  FILING FEES                                           2700-000                                 $7,500.00                   $0.00
10/09/2009           1009      Reverses Check # 1009                FILING FEES                                           2700-003                               ($7,500.00)               $7,500.00
10/09/2009           1010      Mintz Levin                          FILING FEES                                           3220-000                                 $3,000.00               $4,500.00
11/08/2009           1011      A1 SELF STORAGE                      10/27/09 PAYMENT                                      2420-000                                   $75.00                $4,425.00
11/08/2009           1012      CALIFORNIA BANK & TRUST              SUBPOENA FEES                                         2990-000                                  $316.00                $4,109.00
11/08/2009           1013      BLUM & CLARK                         INV 901394                                            3991-000                                   $75.44                $4,033.56
11/08/2009           1014      TERIS                                INV 67516                                             3991-000                                  $431.48                $3,602.08
11/08/2009           1015      US BANK                              FILE # S2009-08215                                    3991-000                                  $268.00                $3,334.08
11/08/2009           1016      WELLS FARGO                          BK # 07-04977                                         3991-000                                   $42.06                $3,292.02

                                                                                                                         SUBTOTALS          $28,036.22         $24,744.20
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04         Doc 1276            Pg. 44Page
                                                                                                                                                        ofNo: 13                Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                            Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                      Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                              Checking Acct #:                  ******3313
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                    Checking - Non Interest
For Period Beginning:             9/10/2007                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                               Separate bond (if applicable):

       1                2                               3                                          4                                            5               6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                      Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                      Received From                                                           Tran Code            $                $


11/08/2009           1017      CITIBANK NA                          INV 09-005909                                          3991-000                                   $19.30                $3,272.72
11/08/2009           1018      FIRST REPUBLIC BANK                  FILE INVDUNN - CREATIVE CAPITAL-WIN                    3991-000                                  $320.30                $2,952.42
11/08/2009           1019      JP MORGAN CHASE                      SUBPOENA FEES                                          3991-000                                  $763.00                $2,189.42
11/08/2009           1020      AMERICAN EXPRESS                     FILE 09231MQR2561515                                   3991-000                                  $456.40                $1,733.02
11/25/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                    9999-000        $377,000.00                                 $378,733.02
11/25/2009           1021      TERIS                                SUBPOENA FEES                                          3991-000                                  $336.91           $378,396.11
11/25/2009           1022      Reverses Check # 1022                COURT ORDER 11/25/09                                      *                               ($140,260.13)            $518,656.24
                                                                    Fees                                  $139,806.18      3210-003                                                    $518,656.24
                                                                    Expenses                                  $453.95      3220-003                                                    $518,656.24
11/25/2009           1022      Gordon & Rees                        COURT ORDER 11/25/09                                      *                                $140,260.13             $378,396.11
                                                                    JEFFREY D. CAWDREY, Fees              $(139,806.18)    3210-003                                                    $378,396.11
                                                                    JEFFREY D. CAWDREY, Expenses              $(453.95)    3220-003                                                    $378,396.11
11/25/2009           1023      CORPORATE RECOVERY ASSOCIATES        COURT ORDER 11/25/09                                      *                                $140,260.13             $238,135.98
                                                                    CORPORATE RECOVERY                        $(330.62)    3732-000                                                    $238,135.98
                                                                    ASSOCIATES CH. 7 EXPENSES
                                                                    CORPORATE RECOVERY                    $(130,858.68)    3731-000                                                    $238,135.98
                                                                    ASSOCIATES CH. 7 FEES
                                                                    CORPORATE RECOVERY                      $(9,070.83)    6410-000                                                    $238,135.98
                                                                    ASSOCIATES CH. 11 FEES/EXPENSES
11/25/2009           1024      Gordon & Rees                        COURT ORDER 11/25/09                                      *                                    $83,418.22          $154,717.76
                                                                    JEFFREY D. CAWDREY, Fees               $(82,345.13)    3210-000                                                    $154,717.76
                                                                    JEFFREY D. CAWDREY, Expenses            $(1,073.09)    3220-000                                                    $154,717.76
11/25/2009           1025      Mintz Levin                          COURT ORDER 11/25/09                                      *                                $154,466.88                   $250.88
                                                                    MINTZ LEVIN COHN FERRIS               $(144,412.87)    3210-000                                                          $250.88
                                                                    GLOVSKY POP FEES
                                                                    MINTZ LEVIN COHN FERRIS                $(10,054.01)    3220-000                                                          $250.88
                                                                    GLOVSKY POP EXPENSES
12/06/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                    9999-000             $226.92                                      $477.80
12/06/2009           1026      A1 SELF STORAGE                      11/27/09 PAYMENT                                       2420-000                                  $165.00                 $312.80
12/06/2009           1027      WELLS FARGO BANK                     BANK REF 1240158-88155                                 2990-000                                  $217.20                  $95.60

                                                                                                                          SUBTOTALS          $377,226.92       $380,423.34
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04        Doc 1276            Pg. 45Page
                                                                                                                                                       ofNo: 14                Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                           Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                     Bank Name:                         BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                             Checking Acct #:                  ******3313
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    Checking - Non Interest
For Period Beginning:             9/10/2007                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                              Separate bond (if applicable):

       1                2                                3                                         4                                           5               6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                     Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                      Received From                                                          Tran Code            $                $


12/06/2009           1028      BANK OF AMERICA                      LEGAL ORDER CA9-705-05-19                             2990-000                                   $95.60                    $0.00
12/28/2009                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000              $90.00                                       $90.00
12/28/2009           1029      A1 SELF STORAGE                      SERVICES                                              2420-000                                   $75.00                  $15.00
01/19/2010                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000           $9,322.07                                     $9,337.07
01/19/2010           1030      Sean C. Coughlin                     75% PRO RATA DISTRIBUTION                                *                                     $9,322.07                 $15.00
                                                                    SEAN C. COUGHLIN, Fees                 $(9,123.00)    3210-000                                                           $15.00
                                                                    SEAN C. COUGHLIN, Expenses               $(199.07)    3220-000                                                           $15.00
02/08/2010           ( 90)     LYNCO WIRE TRANSFER                  LYNCO SETTLEMENT                                      1229-000          $60,000.00                                 $60,015.00
03/21/2010           1031      FRANCHISE TAX BOARD                  XX-XXXXXXX                                            2820-000                                  $800.00            $59,215.00
07/19/2010                     Transfer to Acct #******8037         Bank Funds Transfer                                   9999-000                                $59,215.00                   $0.00
09/26/2010                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000              $29.10                                       $29.10
09/26/2010           1032      LYNETTE ALVES                        TRANSCRIPT FEES (DOCKET NO. 756)                      3991-000                                   $29.10                    $0.00
11/23/2010                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000        $238,260.65                                 $238,260.65
11/23/2010           1033      Gordon & Rees                        COURT ORDER 11/18/10                                     *                                $238,260.65                      $0.00
                                                                    JEFFREY D. CAWDREY, Fees             $(228,611.10)    3210-000                                                             $0.00
                                                                    JEFFREY D. CAWDREY, Expenses           $(9,649.55)    3220-000                                                             $0.00
04/18/2011                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000           $2,600.00                                     $2,600.00
04/18/2011           1034      FRANCHISE TAX BOARD                  FORM 8453-LLC                                         2820-000                                  $900.00                $1,700.00
04/18/2011           1035      FRANCHISE TAX BOARD                  2011 FORM 3522                                        2820-000                                  $800.00                 $900.00
04/18/2011           1036      FRANCHISE TAX BOARD                  FORM 3536 2011                                        2820-000                                  $900.00                    $0.00
11/20/2011                     Transfer from Acct #******8037       Bank Funds Transfer                                   9999-000        $459,831.72                                 $459,831.72
11/20/2011           1037      Gordon & Rees                        COURT ORDER 11/07/11                                     *                                $178,637.25             $281,194.47
                                                                    JEFFREY D. CAWDREY, Fees             $(174,004.47)    3210-000                                                    $281,194.47
                                                                    JEFFREY D. CAWDREY, Expenses           $(4,632.78)    3220-000                                                    $281,194.47
11/20/2011           1038      Mintz Levin                          COURT ORDER 11/09/11                                     *                                    $34,985.57          $246,208.90
                                                                    MINTZ LEVIN, Fees                     $(27,588.33)    3210-000                                                    $246,208.90
                                                                    MINTZ LEVIN, Expenses                  $(7,397.24)    3220-000                                                    $246,208.90




                                                                                                                         SUBTOTALS          $770,133.54       $524,020.24
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04                   Doc 1276            Pg. 46Page
                                                                                                                                                                  ofNo: 15                   Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                      Trustee Name:                        Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                                Bank Name:                           BANK OF AMERICA
Primary Taxpayer ID #:            **-***4349                                                                                        Checking Acct #:                     ******3313
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                       Checking - Non Interest
For Period Beginning:             9/10/2007                                                                                         Blanket bond (per case limit):       $1,000,000.00
For Period Ending:                5/21/2018                                                                                         Separate bond (if applicable):

       1                2                                3                                          4                                                     5                  6                       7

   Transaction       Check /                         Paid to/               Description of Transaction                               Uniform           Deposit         Disbursement                Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                  $


11/20/2011           1039      CORPORATE RECOVERY ASSOCIATES        COURT ORDER 11/08/11                                                *                                   $237,896.86                  $8,312.04
                                                                     CORPORATE RECOVERY                           $(236,393.44)     3731-000                                                             $8,312.04
                                                                     ASSOCIATES, FEES
                                                                     CORPORATE RECOVERY                               $(1,503.42)   3732-000                                                             $8,312.04
                                                                     ASSOCIATES, EXPENSES
11/20/2011           1040      Sean C. Coughlin                     COURT ORDER 11/10/11                                                *                                        $8,312.04                   $0.00
                                                                     SEAN C. COUGHLIN, Fees                           $(8,017.90)   3210-000                                                                 $0.00
                                                                     SEAN C. COUGHLIN, Expenses                        $(294.14)    3220-000                                                                 $0.00
11/30/2011                     BANK OF AMERICA                      BANK SERVICE FEE                                                2600-000                                      $168.95                ($168.95)
12/30/2011                     BANK OF AMERICA                      BANK SERVICE FEE                                                2600-000                                       $68.23                ($237.18)
01/20/2012                     Transfer from Acct #******8037       TRANSFER TO WRITE CHECKS                                        9999-000             $237.18                                             $0.00

                                                                                      TOTALS:                                                        $1,175,633.86        $1,175,633.86                      $0.00
                                                                                          Less: Bank transfers/CDs                                   $1,115,633.86           $59,215.00
                                                                                      Subtotal                                                          $60,000.00        $1,116,418.86
                                                                                          Less: Payments to debtors                                          $0.00                $0.00
                                                                                      Net                                                               $60,000.00        $1,116,418.86



                     For the period of 9/10/2007 to 5/21/2018                                                   For the entire history of the account between 06/08/2009 to 5/21/2018

                     Total Compensable Receipts:                      $60,000.00                                Total Compensable Receipts:                                $60,000.00
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $60,000.00                                Total Comp/Non Comp Receipts:                              $60,000.00
                     Total Internal/Transfer Receipts:             $1,115,633.86                                Total Internal/Transfer Receipts:                       $1,115,633.86


                     Total Compensable Disbursements:              $1,116,418.86                                Total Compensable Disbursements:                        $1,116,418.86
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $1,116,418.86                                Total Comp/Non Comp Disbursements:                      $1,116,418.86
                     Total Internal/Transfer Disbursements:           $59,215.00                                Total Internal/Transfer Disbursements:                     $59,215.00
                                        Case 07-04977-LT7       Filed 06/13/18          Entered 06/13/18 15:00:04        Doc 1276            Pg. 47Page
                                                                                                                                                     ofNo: 16                Exhibit 9
                                                                                         FORM
                                                                                            63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                         Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                   Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                           Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                            Separate bond (if applicable):

       1                2                            3                                            4                                          5               6                       7

   Transaction       Check /                       Paid to/               Description of Transaction                    Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                    Received From                                                          Tran Code            $                $


01/10/2014                     UNION BANK                          Transfer Funds                                       9999-000        $491,002.41                                 $491,002.41
02/07/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $465.22           $490,537.19
03/13/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $530.84           $490,006.35
04/14/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $530.72           $489,475.63
04/14/2014           5001      FRANCHISE TAX BOARD                 2014 TAXES                                           2820-000                                  $800.00           $488,675.63
05/13/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $530.53           $488,145.10
06/20/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $530.23           $487,614.87
07/16/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $580.12           $487,034.75
08/11/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $579.95           $486,454.80
09/12/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $579.77           $485,875.03
10/09/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $579.62           $485,295.41
10/23/2014                     CORPORATE RECOVERY ASSOCIATES       REFUND OF OVERPAYMENT FROM 2ND FEE                   3731-000                                 ($229.90)          $485,525.31
                                                                   APP
10/27/2014           (117)     CITI BUSINESS SERVICES              GLADSTONE V. CITIBANK                                1241-000        $325,000.00                                 $810,525.31
11/03/2014           (119)     STATE OF CALIFORNIA                 TAX REFUND                                           1224-000           $6,000.00                                $816,525.31
11/14/2014                     East West Bank                      Bank Service Fee                                     2600-000                                  $660.64           $815,864.67
11/21/2014           5002      Gordon & Rees                       COURT ORDER 11/20/14                                    *                                    $56,605.86          $759,258.81
                                                                   JEFFREY D. CAWDREY                   $(53,620.00)    3210-000                                                    $759,258.81
                                                                   JEFFREY D. CAWDREY                    $(2,985.86)    3220-000                                                    $759,258.81
11/21/2014           5003      CORPORATE RECOVERY ASSOCIATES       COURT ORDER 11/20/14                                    *                                    $64,214.49          $695,044.32
                                                                   CORPORATE RECOVERY                   $(63,865.50)    3731-000                                                    $695,044.32
                                                                   ASSOCIATES FEES
                                                                   CORPORATE RECOVERY                     $(348.99)     3732-000                                                    $695,044.32
                                                                   ASSOCIATES EXPENSES
11/21/2014           5004      JAG INVESTIGATIONS AND LEGAL        COURT ORDER 11/12/14                                 3731-000                                 $1,496.85          $693,547.47
11/21/2014           5005      COUGHLIN LAW FIRM                   COURT ORDER 11/12/14                                    *                                    $21,813.73          $671,733.74
                                                                   SEAN C. COUGHLIN                     $(19,824.00)    3210-000                                                    $671,733.74
                                                                   SEAN C. COUGHLIN                      $(1,989.73)    3220-000                                                    $671,733.74



                                                                                                                       SUBTOTALS          $822,002.41       $150,268.67
                                        Case 07-04977-LT7         Filed 06/13/18         Entered 06/13/18 15:00:04          Doc 1276            Pg. 48Page
                                                                                                                                                        ofNo: 17                Exhibit 9
                                                                                          FORM
                                                                                             63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                            Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                      Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                              Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                               Separate bond (if applicable):

       1                2                              3                                           4                                            5               6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                      Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                      Received From                                                           Tran Code            $                $


11/25/2014           5006      FINANCIAL LAW GROUP .                NOVEMBER 2013-NOVEMBER 2014 BOND                       2300-000                                 $2,079.20          $669,654.54
                                                                    ALLOCATION
12/02/2014                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,270.19          $668,384.35
01/13/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,113.70          $667,270.65
02/11/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,080.81          $666,189.84
03/11/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,075.65          $665,114.19
03/17/2015           (120)     FIRST AMERICAN TITLE                 FIRST AMERICAN TITLE COMPANY                           1249-000        $216,864.00                                 $881,978.19
04/06/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,231.90          $880,746.29
04/13/2015           5007      FRANCHISE TAX BOARD                  FORM 3536 2015                                         2820-000                                  $900.00           $879,846.29
                                                                    XX-XXXXXXX
04/13/2015           5008      FRANCHISE TAX BOARD                  FORM 3522 2015                                         2820-000                                  $800.00           $879,046.29
                                                                    XX-XXXXXXX
04/13/2015           5009      FRANCHISE TAX BOARD                  FORM 568 2014                                          2820-000                                  $900.00           $878,146.29
04/16/2015           (118)     Sean C. Coughlin                     di nunzio payment                                      1241-000          $18,000.00                                $896,146.29
05/04/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,388.31          $894,757.98
06/01/2015           (121)     HOME TITLE AMERICA                   PAYOFF OF MORTGAGE; ACTUAL WIRE CAME                   1210-000          $50,000.00                                $944,757.98
                                                                    IN ON 5/21/15
06/03/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,472.72          $943,285.26
07/03/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,473.23          $941,812.03
08/03/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,519.95          $940,292.08
08/05/2015           5010      SECRETARY OF STATE                   STATEMENT OF INFORMATION 2015                          2820-000                                   $20.00           $940,272.08
09/01/2015           5011      FINANCIAL LAW GROUP                  NOVEMBER 2014 TO NOVEMBER 2015 BOND                    2300-000                                 $3,500.79          $936,771.29
                                                                    PAYMENT
10/06/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,463.48          $935,307.81
11/09/2015                     East West Bank                       Bank Service Fee                                       2600-000                                 $1,509.70          $933,798.11
11/19/2015           5012      Gordon & Rees                        COURT ORDER 11/16/15                                      *                                    $49,437.48          $884,360.63
                                                                    GORDON & REES FEES                     $(47,709.98)    3210-000                                                    $884,360.63
                                                                    GORDON & REES FEES                      $(1,727.50)    3220-000                                                    $884,360.63
11/19/2015           5013      CLARK AND CLARK AND ASSOC            ATTORNEY'S FEES COURT ORDER 11/16/15                   3210-000                                 $3,055.50          $881,305.13

                                                                                                                          SUBTOTALS          $284,864.00        $75,292.61
                                        Case 07-04977-LT7       Filed 06/13/18          Entered 06/13/18 15:00:04       Doc 1276            Pg. 49Page
                                                                                                                                                    ofNo: 18                Exhibit 9
                                                                                         FORM
                                                                                            63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                        Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                  Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                          Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                              Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                           Separate bond (if applicable):

       1                2                            3                                            4                                         5               6                       7

   Transaction       Check /                       Paid to/               Description of Transaction                   Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                    Received From                                                         Tran Code            $                $


11/19/2015           5014      CORPORATE RECOVERY ASSOCIATES       ACCOUNTANT'S FEES AND EXPENSES; COURT                  *                                    $27,809.69          $853,495.44
                                                                   ORDER 11/16/15
                                                                   CORPORATE RECOVERY                  $(27,780.00)    3731-000                                                    $853,495.44
                                                                   ASSOCIATES FEES
                                                                   CORPORATE RECOVERY                      $(29.69)    3732-000                                                    $853,495.44
                                                                   ASSOCIATES EXPENSES
12/04/2015                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,438.95          $852,056.49
12/28/2015           (132)     ALLAN ERDY ESCROW, INC.             PAYOFF OF DEED OF TRUST; WIRE RECEIVED              1210-000          $35,000.00                                $887,056.49
                                                                   12/24/15; OFFICE CLOSED FOR CHRISTMAS
                                                                   HOLIDAY.
01/04/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,389.76          $885,666.73
02/02/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,429.42          $884,237.31
02/05/2016           (133)     Regions Bank                        STENTZ DEED OF TRUST                                1210-000          $30,000.00                                $914,237.31
03/04/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,367.70          $912,869.61
03/07/2016           (120)     FATCO                               FIRST AMERICAN TITLE                                1249-000        $149,333.00                               $1,062,202.61
03/17/2016           5015      FRANCHISE TAX BOARD                 FORM 3536 2016                                      2820-000                                  $900.00         $1,061,302.61
                                                                   XX-XXXXXXX
03/17/2016           5016      FINANCIAL LAW GROUP                 FORM 3522 2016                                      2820-000                                  $800.00         $1,060,502.61
                                                                   XX-XXXXXXX
04/04/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,635.72        $1,058,866.89
05/06/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,653.83        $1,057,213.06
05/13/2016           5017      FINANCIAL LAW GROUP                 Bond Payment                                        2300-000                                  $600.15         $1,056,612.91
06/09/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,705.95        $1,054,906.96
07/14/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,648.10        $1,053,258.86
08/03/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,700.76        $1,051,558.10
09/08/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,697.07        $1,049,861.03
10/06/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,640.13        $1,048,220.90
11/03/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,691.94        $1,046,528.96
12/05/2016                     East West Bank                      Bank Service Fee                                    2600-000                                 $1,634.48        $1,044,894.48

                                                                                                                      SUBTOTALS          $214,333.00        $50,743.65
                                        Case 07-04977-LT7       Filed 06/13/18          Entered 06/13/18 15:00:04           Doc 1276           Pg. 50Page
                                                                                                                                                       ofNo: 19                 Exhibit 9
                                                                                         FORM
                                                                                            63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                            Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                      Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                              Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                               Separate bond (if applicable):

       1                2                            3                                            4                                            5                6                       7

   Transaction       Check /                       Paid to/               Description of Transaction                       Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                    Received From                                                             Tran Code            $                $


01/03/2017                     East West Bank                      Bank Service Fee                                        2600-000                                 $1,686.49        $1,043,207.99
01/18/2017           5018      GORDON & REES                       BALANCE OF PREVIOUSLY AWARDED FEES                      3210-000                               $82,043.52           $961,164.47
02/07/2017                     East West Bank                      Bank Service Fee                                        2600-000                                 $1,675.06          $959,489.41
02/07/2017           5019      FINANCIAL LAW GROUP                 Bond Payment                                            2300-000                                  $593.44           $958,895.97
03/21/2017           5020      SEAN C. COUGHLIN                    FINAL FEE AWARD. PER ORDER ENTERED ON                      *                                     $5,317.00          $953,578.97
                                                                   3/15/17 (DOCKET NO. 1237)
                                                                   SEAN C. COUGHLIN FEES                $(4,985.00)        3210-000                                                    $953,578.97
                                                                   SEAN C. COUGHLIN EXPENSES                 $(332.00)     3220-000                                                    $953,578.97
03/21/2017           5021      LESLIE GLADSTONE                    PER ORDER ENTERED ON 3/15/17 (DOCKET NO.                   *                                   $67,874.40           $885,704.57
                                                                   1236)
                                                                    Leslie T. Gladstone Fees             $(67,345.01)      2100-000                                                    $885,704.57
                                                                   Leslie T. Gladstone Expenses              $(529.39)     2200-000                                                    $885,704.57
03/21/2017           5022      FINANCIAL LAW GROUP - CAB           PER ORDER ENTERED ON 3/15/17 (DOCKET NO.                   *                                   $15,313.92           $870,390.65
                                                                   1233)
                                                                   FINANCIAL LAW GROUP - CAB              $(8,390.00)      3110-000                                                    $870,390.65
                                                                   FINANCIAL LAW GROUP - CC                 $(1,927.00)    3110-000                                                    $870,390.65
                                                                   FINANCIAL LAW GROUP - LTG                 $(525.00)     3110-000                                                    $870,390.65
                                                                   FINANCIAL LAW GROUP - SY                   $(70.00)     3110-000                                                    $870,390.65
                                                                   FINANCIAL LAW GROUP - MN                 $(3,867.50)    3110-000                                                    $870,390.65
                                                                   FINANCIAL LAW GROUP -                     $(306.92)     3120-000                                                    $870,390.65
                                                                   EXPENSES
                                                                   FINANCIAL LAW GROUP - UP TO               $(227.50)     3110-000                                                    $870,390.65
                                                                   AWARD
03/21/2017           5023      CORPORATE RECOVERY ASSOCIATES       FINAL FEE AWARD. PER ORDER ENTERED ON                   3731-000                               $14,358.00           $856,032.65
                                                                   3/15/17 (DOCKET NO. 1235)
03/21/2017           5024      Gordon & Rees                       PER ORDER ENTERED ON 3/15/17 (DOCKET NO.                   *                                   $82,398.03           $773,634.62
                                                                   1234)
                                                                   Gordon & Rees Fees                    $(74,321.50)      3210-000                                                    $773,634.62
                                                                   Gordon & Rees Expenses                   $(8,076.53)    3220-000                                                    $773,634.62
05/22/2017           5025      CORPORATE RECOVERY ASSOCIATES       FIFTH & FINAL                                           3731-000                                 $5,635.31          $767,999.31


                                                                                                                          SUBTOTALS                $0.00       $276,895.17
                                        Case 07-04977-LT7                Filed 06/13/18          Entered 06/13/18 15:00:04                   Doc 1276           Pg. 51Page
                                                                                                                                                                        ofNo: 20                 Exhibit 9
                                                                                                  FORM
                                                                                                     63 2
                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                             Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                                       Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                               Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                                Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                                Separate bond (if applicable):

       1                2                                 3                                                4                                                    5                6                       7

   Transaction       Check /                          Paid to/                    Description of Transaction                                Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                                           Tran Code            $                $


07/19/2017           5026      Gordon & Rees                               Attorney's fees/expenses                                            *                                   $11,107.72           $756,891.59
                                                                           Gordon & Rees Fees                                $(7,690.78)    3210-000                                                    $756,891.59
                                                                           Gordon & Rees Expenses                            $(3,416.94)    3220-000                                                    $756,891.59
07/19/2017           5027      Gordon & Rees                               Attorney's chapter 11 fees/expenses                                 *                                   $38,941.65           $717,949.94
                                                                           Gordon & Rees Ch. 11 Fees                        $(34,627.00)    6210-000                                                    $717,949.94
                                                                           Gordon & Rees Ch. 11 Expenses                     $(4,314.65)    6220-000                                                    $717,949.94
08/11/2017           5028      Gordon & Rees                               ATTORNEY'S FEES ON UP TO AWARD                                   3210-000                                  $276.50           $717,673.44
09/07/2017           5029      Gordon & Rees                               Attorney Fees                                                    3210-000                                  $355.50           $717,317.94
10/16/2017           5030      FEDEX CUSTOMER INFORMATION                  Account Number: ; Claim #: 1; Dividend: 0.00;                    7100-000                                   $18.12           $717,299.82
                               SERVICES                                    Distribution Dividend: 3.36; Amount Claimed: 538.32;
10/16/2017           5031      BOSS, SHAUN                                 Account Number: ; Claim #: 2; Dividend: 0.00;                    7100-000                                   $15.15           $717,284.67
                                                                           Distribution Dividend: 3.36; Amount Claimed: 450.00;
10/16/2017           5032      SOUTHLAND ELECTRIC                          Account Number: ; Claim #: 3; Dividend: 0.00;                    7100-000                                    $7.56           $717,277.11
                                                                           Distribution Dividend: 3.36; Amount Claimed: 224.77;
10/16/2017           5033      HOPPER SYSTEM''S INC.                       Account Number: ; Claim #: 5; Dividend: 0.01;                    7100-000                                  $132.87           $717,144.24
                                                                           Distribution Dividend: 3.36; Amount Claimed: 3,950.26;
10/16/2017           5034      CORNELL, HOWARD                             Account Number: ; Claim #: 6; Dividend: 0.23;                    7100-000                                 $1,701.90          $715,442.34
                                                                           Distribution Dividend: 3.36; Amount Claimed: 50,596.00;
10/16/2017           5035      GORDON TERHUNE                              Account Number: ; Claim #: 7; Dividend: 0.00;                    7100-000                                   $14.97           $715,427.37
                               PAINTING/MAINTENACE                         Distribution Dividend: 3.36; Amount Claimed: 445.00;
10/16/2017           5036      PARMAS LANDSCAPE                            Account Number: ; Claim #: 8; Dividend: 0.01;                    7100-000                                   $81.39           $715,345.98
                                                                           Distribution Dividend: 3.36; Amount Claimed: 2,419.75;
10/16/2017           5037      INTERNAL REVENUE SERVICE                    Account Number: ; Claim #: 10; Dividend: 0.09;                   5800-003                                  $651.07           $714,694.91
                                                                           Distribution Dividend: 100.00; Amount Claimed: 651.07;
                                                                           11/6/17 Correspondence received from IRS stating no
                                                                           liability due for this claim
10/16/2017           5038      Solomon, Grindle, Lidstad & Wintringer,     Account Number: ; Claim #: 11; Dividend: 0.56;                   7100-000                                 $4,035.74          $710,659.17
                               APC                                         Distribution Dividend: 3.36; Amount Claimed:
                                                                           119,979.12;



                                                                                                                                           SUBTOTALS                $0.00        $57,340.14
                                        Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04                      Doc 1276           Pg. 52Page
                                                                                                                                                                    ofNo: 21                 Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                         Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                                   Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                           Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                            Separate bond (if applicable):

       1                2                                   3                                      4                                                        5                6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                                   Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                      Received From                                                                        Tran Code            $                $


10/16/2017           5039      KREITZMAN, SHELDON AND MARLYS        Account Number: ; Claim #: 13; Dividend: 0.76;                      7100-000                                 $5,480.32          $705,178.85
                               FAMIL                                Distribution Dividend: 3.36; Amount Claimed:
                                                                    162,925.25;
10/16/2017           5040      GLAZER, DAVID                        Account Number: ; Claim #: 14; Dividend: 0.38;                      7100-000                                 $2,785.82          $702,393.03
                                                                    Distribution Dividend: 3.36; Amount Claimed: 82,820.06;
10/16/2017           5041      GLAZER, MYRA                         Account Number: ; Claim #: 15; Dividend: 0.07;                      7100-000                                  $521.13           $701,871.90
                                                                    Distribution Dividend: 3.36; Amount Claimed: 15,492.83;
10/16/2017           5042      LEONARD, THOMAS G.                   Account Number: ; Claim #: 16; Dividend: 0.03;                      7100-000                                  $284.55           $701,587.35
                                                                    Distribution Dividend: 3.36; Amount Claimed: 8,459.49;
10/16/2017           5043      ROBINSON & ASSOCIATES                Account Number: ; Claim #: 17; Dividend: 0.00;                      7100-000                                   $48.10           $701,539.25
                                                                    Distribution Dividend: 3.36; Amount Claimed: 1,430.00;
10/16/2017           5044      GLAZER, MYRA                         Account Number: ; Claim #: 18; Dividend: 0.36;                      7100-000                                 $2,647.21          $698,892.04
                                                                    Distribution Dividend: 3.36; Amount Claimed: 78,699.47;
10/16/2017           5045      GLAZER, MYRA                         Account Number: ; Claim #: 19; Dividend: 0.11;                      7100-000                                  $858.93           $698,033.11
                                                                    Distribution Dividend: 3.36; Amount Claimed: 25,535.35;
10/16/2017           5046      GLAZER, MYRA                         Account Number: ; Claim #: 20; Dividend: 0.10;                      7100-000                                  $738.40           $697,294.71
                                                                    Distribution Dividend: 3.36; Amount Claimed: 21,951.95;
10/16/2017           5047      Clerk, US Bankruptcy Court           Small Dividends                                                        *                                       $10.41           $697,284.30
                                                                    Claim Amount                                             $(2.55)    7100-001                                                    $697,284.30
                                                                    Claim Amount                                             $(3.46)    7100-001                                                    $697,284.30
                                                                    Claim Amount                                             $(1.38)    7100-001                                                    $697,284.30
                                                                    Claim Amount                                             $(3.02)    7100-001                                                    $697,284.30
10/16/2017           5048      WELLS FARGO BANK, N.A.               Account Number: ; Claim #: 23; Dividend: 6.78;                      7100-000                               $48,640.46           $648,643.84
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    1,446,040.67;
10/16/2017           5049      FOSTER PEPPER PLLC                   Account Number: ; Claim #: 24; Dividend: 1.12;                      7100-000                                 $8,093.27          $640,550.57
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    240,606.17;
10/16/2017           5050      WOODSIDE VILLAGE HOA                 Account Number: ; Claim #: 26; Dividend: 0.00;                      7100-000                                   $59.98           $640,490.59
                                                                    Distribution Dividend: 3.36; Amount Claimed: 1,783.16;


                                                                                                                                       SUBTOTALS                $0.00        $70,168.58
                                       Case 07-04977-LT7        Filed 06/13/18           Entered 06/13/18 15:00:04             Doc 1276           Pg. 53Page
                                                                                                                                                          ofNo: 22                 Exhibit 9
                                                                                          FORM
                                                                                             63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                               Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                         Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                 Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                  Separate bond (if applicable):

       1                2                            3                                            4                                               5                6                       7

   Transaction       Check /                       Paid to/               Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                    Received From                                                                Tran Code            $                $


10/16/2017           5051      DANIEL H PURYEAR ESQ                Account Number: ; Claim #: 28; Dividend: 0.00;             7100-000                                   $68.36           $640,422.23
                                                                   Distribution Dividend: 3.36; Amount Claimed: 2,032.28;
10/16/2017           5052      KENNETH C GREENE                    Account Number: ; Claim #: 29; Dividend: 0.16;             7100-000                                 $1,185.50          $639,236.73
                                                                   Distribution Dividend: 3.36; Amount Claimed: 35,244.00;
10/16/2017           5053      PROTECTION ONE                      Account Number: ; Claim #: 30; Dividend: 0.00;             7100-000                                    $5.65           $639,231.08
                                                                   Distribution Dividend: 3.36; Amount Claimed: 168.00;
10/16/2017           5054      FEINERMAN, MYRNA                    Account Number: ; Claim #: 31; Dividend: 0.49;             7100-000                                 $3,531.88          $635,699.20
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   105,000.00;
10/16/2017           5055      SIMPLY SMOKIN'' RECORDS INC         Account Number: ; Claim #: 32; Dividend: 33.78;            7100-000                             $242,354.56            $393,344.64
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   7,205,000.00;
10/16/2017           5056      KAY, DONALD                         Account Number: ; Claim #: 33; Dividend: 0.45;             7100-000                                 $3,239.24          $390,105.40
                                                                   Distribution Dividend: 3.36; Amount Claimed: 96,300.00;
10/16/2017           5057      ANDREA D. BELLAMY TRUST             Account Number: ; Claim #: 34; Dividend: 1.18;             7100-000                                 $8,476.52          $381,628.88
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   252,000.00;
10/16/2017           5058      EASTMAN & SMITH LTD                 Account Number: ; Claim #: 35; Dividend: 0.05;             7100-000                                  $424.72           $381,204.16
                                                                   Distribution Dividend: 3.36; Amount Claimed: 12,626.56;
10/16/2017           5059      FEINERMAN, JEROME                   Account Number: ; Claim #: 36; Dividend: 0.09;             7100-000                                  $672.74           $380,531.42
                                                                   Distribution Dividend: 3.36; Amount Claimed: 20,000.00;
10/16/2017           5060      BOOTH, GOLDYNNE                     Account Number: ; Claim #: 37; Dividend: 1.09;             7100-000                                 $7,860.63          $372,670.79
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   233,690.00;
10/16/2017           5061      T-MOBILE USA INC.                   Account Number: ; Claim #: 39; Dividend: 0.00;             7100-000                                   $14.72           $372,656.07
                                                                   Distribution Dividend: 3.36; Amount Claimed: 437.62;
10/16/2017           5062      CALIFORNIA BANK & TRUST             Account Number: ; Claim #: 40; Dividend: 3.45;             7100-000                               $24,814.96           $347,841.11
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   737,728.16;
10/16/2017           5063      HILLSBOROUGH MASTER HOA             Account Number: ; Claim #: 41; Dividend: 0.00;             7100-000                                    $6.13           $347,834.98
                                                                   Distribution Dividend: 3.36; Amount Claimed: 182.25;
                                                                                                                             SUBTOTALS                $0.00       $292,655.61
                                        Case 07-04977-LT7                Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 54Page
                                                                                                                                                                  ofNo: 23                 Exhibit 9
                                                                                                  FORM
                                                                                                     63 2
                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          07-04977-LT7                                                                                      Trustee Name:                      Leslie T. Gladstone
 Case Name:                        CREATIVE CAPITAL LEASING GROUP LLC                                                                Bank Name:                         East West Bank
Primary Taxpayer ID #:             **-***4349                                                                                        Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                    DDA
For Period Beginning:              9/10/2007                                                                                         Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 5/21/2018                                                                                         Separate bond (if applicable):

       1                2                                  3                                              4                                               5                6                       7

   Transaction       Check /                          Paid to/                    Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                                     Tran Code            $                $


10/16/2017           5064      KLEINMAN-WEISS LIVING TRUST                 Account Number: ; Claim #: 42; Dividend: 0.49;             7100-000                                 $3,531.88          $344,303.10
                               JOEL &                                      Distribution Dividend: 3.36; Amount Claimed:
                                                                           105,000.00;
10/16/2017           5065      JOHN H BERNSTEIN ESQ                        Account Number: ; Claim #: 44; Dividend: 0.08;             7100-000                                  $632.45           $343,670.65
                                                                           Distribution Dividend: 3.36; Amount Claimed: 18,802.22;
10/16/2017           5066      SCOTT & LISA TOLAND                         Account Number: ; Claim #: 45; Dividend: 0.22;             7100-000                                 $1,608.69          $342,061.96
                                                                           Distribution Dividend: 3.36; Amount Claimed: 47,825.10;
10/16/2017           5067      ROBERT J HOGG                               Account Number: ; Claim #: 46; Dividend: 2.32;             7100-000                               $16,650.31           $325,411.65
                                                                           Distribution Dividend: 3.36; Amount Claimed:
                                                                           495,000.00;
10/16/2017           5068      JAMES P. BLASINGAME FAMILY                  Account Number: ; Claim #: 48; Dividend: 0.24;             7100-000                                 $1,751.09          $323,660.56
                               TRUST                                       Distribution Dividend: 3.36; Amount Claimed: 52,058.33;
10/16/2017           5069      JAMES P. BLASINGAME, M.D. IRA               Account Number: ; Claim #: 49; Dividend: 0.14;             7100-000                                 $1,042.75          $322,617.81
                               ROLLO                                       Distribution Dividend: 3.36; Amount Claimed: 31,000.00;
10/16/2017           5070      LAS PALMAS CONDOMINIUM ASSOC                Account Number: ; Claim #: 52; Dividend: 0.00;             7100-000                                   $49.11           $322,568.70
                                                                           Distribution Dividend: 3.36; Amount Claimed: 1,460.00;
10/16/2017           5071      Mignon Walker Marquina; Sergio Marquina     Account Number: ; Claim #: 53; Dividend: 4.04;             7100-000                               $28,995.09           $293,573.61
                               and Skinsauve, LLC                          Distribution Dividend: 3.36; Amount Claimed:
                                                                           862,000.00;
10/16/2017           5072      CAROL SARNA                                 Account Number: ; Claim #: 57; Dividend: 0.24;             7100-000                                 $1,735.75          $291,837.86
                                                                           Distribution Dividend: 3.36; Amount Claimed: 51,602.37;
10/16/2017           5073      BURTON VOLKMAN & SCHMAL                     Account Number: ; Claim #: 58; Dividend: 0.04;             7100-000                                  $345.13           $291,492.73
                                                                           Distribution Dividend: 3.36; Amount Claimed: 10,260.50;
10/16/2017           5074      James & Blacida Giaciolli                   Account Number: ; Claim #: 59; Dividend: 0.06;             7100-000                                  $457.65           $291,035.08
                                                                           Distribution Dividend: 3.36; Amount Claimed: 13,605.42;
10/16/2017           5075      Essel Enterprises, LLC                      Account Number: ; Claim #: 60; Dividend: 2.30;             7100-000                               $16,564.66           $274,470.42
                                                                           Distribution Dividend: 3.36; Amount Claimed:
                                                                           492,453.58;
10/16/2017           5076      WRIGHT, FINLAY & ZAK, LLP                   Account Number: ; Claim #: 64; Dividend: 0.09;             7100-000                                  $662.24           $273,808.18
                                                                           Distribution Dividend: 3.36; Amount Claimed: 19,687.98;


                                                                                                                                     SUBTOTALS                $0.00        $74,026.80
                                        Case 07-04977-LT7        Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 55Page
                                                                                                                                                          ofNo: 24                 Exhibit 9
                                                                                          FORM
                                                                                             63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                               Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                         Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                 Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                  Separate bond (if applicable):

       1                2                           3                                             4                                               5                6                       7

   Transaction       Check /                      Paid to/                Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                   Received From                                                                 Tran Code            $                $


10/16/2017           5077      ERNEST R. J. WALDBURGER             Account Number: ; Claim #: 69; Dividend: 1.24;             7100-000                                 $8,896.95          $264,911.23
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   264,498.92; (bank posted check as check no. 60577)
10/16/2017           5078      HILLSBOROUGH GREENS PLANNED         Account Number: ; Claim #: 71; Dividend: 0.00;             7100-000                                   $14.02           $264,897.21
                               UNIT DE                             Distribution Dividend: 3.36; Amount Claimed: 416.68;
10/16/2017           5079      220-240 ASSOC                       Account Number: ; Claim #: 72; Dividend: 0.02;             7100-000                                  $206.51           $264,690.70
                                                                   Distribution Dividend: 3.36; Amount Claimed: 6,139.28;
10/16/2017           5080      CITYFRONT TERRACE HOA               Account Number: ; Claim #: 73; Dividend: 0.08;             7100-000                                  $618.94           $264,071.76
                                                                   Distribution Dividend: 3.36; Amount Claimed: 18,400.46;
10/16/2017           5081      MERIDIAN RESIDENTIAL ASSOC.         Account Number: ; Claim #: 74; Dividend: 0.09;             7100-000                                  $714.45           $263,357.31
                                                                   Distribution Dividend: 3.36; Amount Claimed: 21,240.10;
10/16/2017           5082      HIGH COUNTRY WEST PROPERTY          Account Number: ; Claim #: 75; Dividend: 0.00;             7100-000                                   $36.50           $263,320.81
                               OWNERS A                            Distribution Dividend: 3.36; Amount Claimed: 1,085.00;
10/16/2017           5083      LA JOLLA CITY CLUB HOA              Account Number: ; Claim #: 76; Dividend: 0.00;             7100-000                                   $66.96           $263,253.85
                                                                   Distribution Dividend: 3.36; Amount Claimed: 1,990.60;
10/16/2017           5084      SCITON INC                          Account Number: ; Claim #: 77; Dividend: 0.14;             7100-000                                 $1,009.11          $262,244.74
                                                                   Distribution Dividend: 3.36; Amount Claimed: 30,000.00;
10/16/2017           5085      SCHEER LAW GROUP LLP                Account Number: ; Claim #: 81; Dividend: 0.00;             7100-000                                   $29.94           $262,214.80
                                                                   Distribution Dividend: 3.36; Amount Claimed: 890.24;
10/16/2017           5086      Anita Ashton                        Account Number: ; Claim #: 83; Dividend: 1.46;             7100-000                               $10,522.44           $251,692.36
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   312,823.38;
10/16/2017           5087      AMERICAN EXPRESS BANK FSB           Account Number: ; Claim #: 84; Dividend: 0.40;             7100-000                                 $2,901.85          $248,790.51
                                                                   Distribution Dividend: 3.36; Amount Claimed: 86,269.62;
10/16/2017           5088      ALAMEDA COUNTY TAX COLLECTOR        Account Number: ; Claim #: 85; Dividend: 0.53;             5800-000                                 $3,846.58          $244,943.93
                                                                   Distribution Dividend: 100.00; Amount Claimed:
                                                                   3,846.58;
10/16/2017           5089      FEIN, SUCH, KAHN AND SHEPARD PC     Account Number: ; Claim #: 87; Dividend: 0.05;             7100-000                                  $428.84           $244,515.09
                                                                   Distribution Dividend: 3.36; Amount Claimed: 12,748.98;
10/16/2017           5090      AZTEC PLAZA                         Account Number: ; Claim #: 88; Dividend: 0.02;             7100-000                                  $196.70           $244,318.39
                                                                   Distribution Dividend: 3.36; Amount Claimed: 5,847.60;
                                                                                                                             SUBTOTALS                $0.00        $29,489.79
                                      Case 07-04977-LT7         Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 56Page
                                                                                                                                                         ofNo: 25                 Exhibit 9
                                                                                         FORM
                                                                                            63 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                        07-04977-LT7                                                                               Trustee Name:                      Leslie T. Gladstone
 Case Name:                      CREATIVE CAPITAL LEASING GROUP LLC                                                         Bank Name:                         East West Bank
Primary Taxpayer ID #:           **-***4349                                                                                 Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                    DDA
For Period Beginning:            9/10/2007                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:               5/21/2018                                                                                  Separate bond (if applicable):

       1                2                            3                                           4                                               5                6                       7

   Transaction       Check /                       Paid to/              Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                    Received From                                                               Tran Code            $                $


10/16/2017           5091      WASHINGTON MUTUAL BANK             Account Number: ; Claim #: 89; Dividend: 1.45;             7100-000                               $10,427.86           $233,890.53
                                                                  Distribution Dividend: 3.36; Amount Claimed:
                                                                  310,011.65;
10/16/2017           5092      INTERNAL REVENUE SERVICE           Account Number: ; Claim #: 90; Dividend: 0.18;             2820-000                                 $1,301.07          $232,589.46
                                                                  Distribution Dividend: 100.00; Amount Claimed:
                                                                  1,301.07;
10/16/2017           5093      GASLAMP CITY SQUARE PROPERTY       Account Number: ; Claim #: 91; Dividend: 0.05;             7100-000                                  $370.65           $232,218.81
                               OWNERS                             Distribution Dividend: 3.36; Amount Claimed: 11,019.14;
10/16/2017           5094      DISCOVERY AT CORTEZ HILL HOA       Account Number: ; Claim #: 93; Dividend: 0.01;             7100-000                                  $133.73           $232,085.08
                                                                  Distribution Dividend: 3.36; Amount Claimed: 3,975.65;
10/16/2017           5095      FEINERMAN, MYRNA                   Account Number: ; Claim #: 95; Dividend: 0.49;             7100-000                                 $3,531.88          $228,553.20
                                                                  Distribution Dividend: 3.36; Amount Claimed:
                                                                  105,000.00;
10/16/2017           5096      LAS PALMAS CONDOMINIUM ASSOC       Account Number: ; Claim #: 96; Dividend: 0.01;             7100-000                                  $118.74           $228,434.46
                                                                  Distribution Dividend: 3.36; Amount Claimed: 3,530.00;
10/16/2017           5097      NEW YORK STATE DEPT OF             Account Number: ; Claim #: 97; Dividend: 0.25;             5800-000                                 $1,840.13          $226,594.33
                               TAXATION OF                        Distribution Dividend: 100.00; Amount Claimed:
                                                                  1,840.13;
10/16/2017           5098      NEW YORK STATE DEPT OF             Account Number: ; Claim #: 98; Dividend: 0.00;             5800-000                                   $29.27           $226,565.06
                               TAXATION OF                        Distribution Dividend: 100.00; Amount Claimed: 29.27;
10/16/2017           5099      PAYCHEX                            Account Number: ; Claim #: 99; Dividend: 0.00;             7100-000                                    $7.37           $226,557.69
                                                                  Distribution Dividend: 3.36; Amount Claimed: 219.03;
10/16/2017           5100      BURTON VOLKMAN & SCHMAL            Account Number: ; Claim #: 100; Dividend: 0.05;            7100-000                                  $414.46           $226,143.23
                                                                  Distribution Dividend: 3.36; Amount Claimed: 12,321.56;
10/16/2017           5101      YAACOV S. LIBERMAN AND LEA         Account Number: ; Claim #: 101; Dividend: 4.03;            7100-000                               $28,922.89           $197,220.34
                               LIBERMAN                           Distribution Dividend: 3.36; Amount Claimed:
                                                                  859,853.66;
10/16/2017           5102      TOVIK LIBERMAN                     Account Number: ; Claim #: 102; Dividend: 4.78;            7100-000                               $34,324.93           $162,895.41
                                                                  Distribution Dividend: 3.36; Amount Claimed:
                                                                  1,020,451.66;


                                                                                                                            SUBTOTALS                $0.00        $81,422.98
                                       Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 57Page
                                                                                                                                                           ofNo: 26                 Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                          Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                  Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                   Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                   Separate bond (if applicable):

       1                2                              3                                           4                                               5                6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                      Received From                                                               Tran Code            $                $


10/16/2017           5103      SHLOMO AND VICTORIA BENDERLY         Account Number: ; Claim #: 103; Dividend: 1.91;            7100-000                               $13,753.52           $149,141.89
                               FAMILY                               Distribution Dividend: 3.36; Amount Claimed:
                                                                    408,880.66;
10/16/2017           5104      EINSTEIN, AHUVA                      Account Number: ; Claim #: 104; Dividend: 4.33;            7100-000                               $31,119.08           $118,022.81
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    925,144.50;
10/16/2017           5105      FIA CARD SERVICES, NA/BANK OF        Account Number: ; Claim #: 105; Dividend: 0.18;            7100-000                                 $1,344.15          $116,678.66
                               AMERI                                Distribution Dividend: 3.36; Amount Claimed: 39,960.47;
10/16/2017           5106      JOHN G POWERS                        Account Number: ; Claim #: 107; Dividend: 0.12;            7100-000                                  $905.43           $115,773.23
                                                                    Distribution Dividend: 3.36; Amount Claimed: 26,917.75;
10/16/2017           5107      ADRIAN WINICK                        Account Number: ; Claim #: 108; Dividend: 5.64;            7100-000                               $40,517.41            $75,255.82
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    1,204,549.00;
10/16/2017           5108      WINICK, MICHAEL                      Account Number: ; Claim #: 110; Dividend: 1.63;            7100-000                               $11,732.15            $63,523.67
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    348,787.00;
10/16/2017           5109      SUSAN (SUZY) FIG                     Account Number: ; Claim #: 111; Dividend: 1.48;            7100-000                               $10,655.80            $52,867.87
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    316,788.00;
10/16/2017           5110      LA JOLLA CITY CLUB HOA               Account Number: ; Claim #: 112; Dividend: 0.00;            7100-000                                   $36.96            $52,830.91
                                                                    Distribution Dividend: 3.36; Amount Claimed: 1,098.90;
10/16/2017           5111      MERIDIAN RESIDENTIAL ASSOC.          Account Number: ; Claim #: 113; Dividend: 0.08;            7100-000                                  $588.11            $52,242.80
                                                                    Distribution Dividend: 3.36; Amount Claimed: 17,484.10;
10/16/2017           5112      CITYFRONT TERRACE HOA                Account Number: ; Claim #: 114; Dividend: 0.02;            7100-000                                  $171.89            $52,070.91
                                                                    Distribution Dividend: 3.36; Amount Claimed: 5,110.14;
10/16/2017           5113      CITYFRONT TERRACE HOA                Account Number: ; Claim #: 115; Dividend: 0.02;            7100-000                                  $178.16            $51,892.75
                                                                    Distribution Dividend: 3.36; Amount Claimed: 5,296.65;
10/16/2017           5114      CITYFRONT TERRACE HOA                Account Number: ; Claim #: 116; Dividend: 0.02;            7100-000                                  $177.32            $51,715.43
                                                                    Distribution Dividend: 3.36; Amount Claimed: 5,271.65;
10/16/2017           5115      SAN DIEGO UNION TRIBUNE              Account Number: ; Claim #: 117; Dividend: 0.00;            7100-000                                   $17.67            $51,697.76
                                                                    Distribution Dividend: 3.36; Amount Claimed: 525.46;
                                                                                                                              SUBTOTALS                $0.00       $111,197.65
                                         Case 07-04977-LT7              Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 58Page
                                                                                                                                                                 ofNo: 27                 Exhibit 9
                                                                                                 FORM
                                                                                                    63 2
                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          07-04977-LT7                                                                                     Trustee Name:                      Leslie T. Gladstone
 Case Name:                        CREATIVE CAPITAL LEASING GROUP LLC                                                               Bank Name:                         East West Bank
Primary Taxpayer ID #:             **-***4349                                                                                       Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                    DDA
For Period Beginning:              9/10/2007                                                                                        Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 5/21/2018                                                                                        Separate bond (if applicable):

       1                2                                  3                                             4                                               5                6                       7

   Transaction       Check /                           Paid to/                  Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                                   Tran Code            $                $


10/16/2017           5116      STATE OF FLORIDA - DEPARTMENT              Account Number: ; Claim #: 118; Dividend: 0.00;            7100-000                                   $56.43            $51,641.33
                               OF REVENUE                                 Distribution Dividend: 3.36; Amount Claimed: 1,677.58;
10/16/2017           5117      STATE OF FLORIDA - DEPARTMENT              Account Number: ; Claim #: 118; Dividend: 0.97;            5800-000                                 $6,982.82           $44,658.51
                               OF REVENUE                                 Distribution Dividend: 100.00; Amount Claimed:
                                                                          6,982.82;
10/16/2017           5118      Department Of Revenue/State Of Florida     Account Number: ; Claim #: 122; Dividend: 2.46;            5800-000                               $17,685.89            $26,972.62
                                                                          Distribution Dividend: 100.00; Amount Claimed:
                                                                          17,685.89;
10/16/2017           5119      MONTGOMERY COUNTY, MD                      Account Number: ; Claim #: 125; Dividend: 0.47;            5800-000                                 $3,406.04           $23,566.58
                                                                          Distribution Dividend: 100.00; Amount Claimed:
                                                                          3,406.04;
10/16/2017           5120      Office of U.S. Trustee                     Account Number: ; Claim #: 126; Dividend: 2.12;            2950-000                               $15,275.00                $8,291.58
                                                                          Distribution Dividend: 100.00; Amount Claimed:
                                                                          15,275.00;
10/16/2017           5121      FRANCHISE TAX BOARD                        Account Number: ; Claim #: 127; Dividend: 0.38;            2820-000                                 $2,766.87               $5,524.71
                                                                          Distribution Dividend: 100.00; Amount Claimed:
                                                                          2,766.87;
10/16/2017           5122      Charles County                             Account Number: ; Claim #: 128; Dividend: 0.44;            5800-000                                 $3,225.01               $2,299.70
                                                                          Distribution Dividend: 100.00; Amount Claimed:
                                                                          3,225.01;
10/16/2017           5123      FRANCHISE TAX BOARD                        Account Number: ; Claim #: 129; Dividend: 0.11;            5800-000                                  $826.37                $1,473.33
                                                                          Distribution Dividend: 100.00; Amount Claimed: 826.37;
10/16/2017           5124      Action Foreclosure Services Inc.           Account Number: ; Claim #: 132; Dividend: 0.20;            7100-000                                 $1,473.33                  $0.00
                                                                          Distribution Dividend: 3.36; Amount Claimed: 43,801.00;
10/30/2017           5066      VOID: SCOTT & LISA TOLAND                  CHECK RETURNED - NO BETTER ADDRESS                         7100-003                               ($1,608.69)               $1,608.69
                                                                          FOUND




                                                                                                                                    SUBTOTALS                $0.00        $50,089.07
                                        Case 07-04977-LT7                 Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 59Page
                                                                                                                                                                   ofNo: 28                  Exhibit 9
                                                                                                   FORM
                                                                                                      63 2
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                        Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                                  Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                          Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                           Separate bond (if applicable):

       1                2                                3                                                 4                                               5                6                        7

   Transaction       Check /                         Paid to/                      Description of Transaction                          Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                      Received From                                                                       Tran Code            $                $


10/31/2017           5121      STOP PAYMENT: FRANCHISE TAX                  Account Number: ; Claim #: 127; Dividend: 0.38;            2820-000                               ($2,766.87)                $4,375.56
                               BOARD                                        Distribution Dividend: 100.00; Amount Claimed:
                                                                            2,766.87; 10/31/17; check to be returned due to full
                                                                            amount not being owed. Amended Claim no. 127 to be
                                                                            filed to reflect only 2008 liability in the amount of
                                                                            $800.00
11/02/2017                     FRANCHISE TAX BOARD                          Refund for overpayment on tax year end 2016                2820-002                                 ($100.00)                $4,475.56
11/06/2017           5037      VOID: INTERNAL REVENUE SERVICE                                                                          5800-003                                 ($651.07)                $5,126.63
11/06/2017           5106      STOP PAYMENT: JOHN G POWERS                  Account Number: ; Claim #: 107; Dividend: 0.12;            7100-004                                 ($905.43)                $6,032.06
                                                                            Distribution Dividend: 3.36; Amount Claimed: 26,917.75;
11/08/2017           5125      JOHN G POWERS                                Account Number: ; Claim #: 107; Dividend: 0.12;            7100-000                                  $905.43                 $5,126.63
                                                                            Distribution Dividend: 3.36; Amount Claimed: 26,917.75;
11/08/2017           5125      VOID: JOHN G POWERS                                                                                     7100-003                                 ($905.43)                $6,032.06
11/08/2017           5126      SCOTT & LISA TOLAND                          Account Number: ; Claim #: 45; Dividend: 0.22;             7100-000                                 $1,608.69                $4,423.37
                                                                            Distribution Dividend: 3.36; Amount Claimed: 47,825.10;
11/08/2017           5127      DANIEL AND LINDA MITROVICH                   REPLACEMENT CHECK FOR 5106                                 7100-000                                  $905.43                 $3,517.94
11/14/2017           5064      VOID: KLEINMAN-WEISS LIVING                                                                             7100-003                               ($3,531.88)                $7,049.82
                               TRUST JOEL &
11/14/2017           5090      VOID: AZTEC PLAZA                                                                                       7100-003                                 ($196.70)                $7,246.52
11/16/2017           5128      KLEINMAN-WEISS LIVING TRUST                  Account Number: ; Claim #: 42; Dividend: 0.49;             7100-000                                 $3,531.88                $3,714.64
                               JOEL &                                       Distribution Dividend: 3.36; Amount Claimed:
                                                                            105,000.00;
                                                                            reissued check
11/17/2017           5063      VOID: HILLSBOROUGH MASTER HOA                                                                           7100-003                                    ($6.13)               $3,720.77
11/17/2017           5109      VOID: SUSAN (SUZY) FIG                                                                                  7100-003                             ($10,655.80)             $14,376.57
12/08/2017           5071      STOP PAYMENT: Mignon Walker                  Account Number: ; Claim #: 53; Dividend: 4.04;             7100-004                             ($28,995.09)             $43,371.66
                               Marquina; Sergio Marquina and Skinsauve,     Distribution Dividend: 3.36; Amount Claimed:
                                                                            862,000.00;
12/12/2017           5059      STOP PAYMENT: FEINERMAN,                     Account Number: ; Claim #: 36; Dividend: 0.09;             7100-004                                 ($672.74)            $44,044.40
                               JEROME                                       Distribution Dividend: 3.36; Amount Claimed: 20,000.00;

                                                                                                                                      SUBTOTALS                $0.00       ($42,435.71)
                                       Case 07-04977-LT7        Filed 06/13/18           Entered 06/13/18 15:00:04             Doc 1276           Pg. 60Page
                                                                                                                                                          ofNo: 29                 Exhibit 9
                                                                                          FORM
                                                                                             63 2
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                               Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                         Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                 Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                  Separate bond (if applicable):

       1                2                          3                                              4                                               5                6                       7

   Transaction       Check /                     Paid to/                 Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                  Received From                                                                  Tran Code            $                $


12/12/2017           5069      STOP PAYMENT: JAMES P.              Account Number: ; Claim #: 49; Dividend: 0.14;             7100-004                               ($1,042.75)           $45,087.15
                               BLASINGAME, M.D. IRA ROLLO          Distribution Dividend: 3.36; Amount Claimed: 31,000.00;
12/12/2017           5042      STOP PAYMENT: LEONARD, THOMAS       Account Number: ; Claim #: 16; Dividend: 0.03;             7100-004                                 ($284.55)           $45,371.70
                               G.                                  Distribution Dividend: 3.36; Amount Claimed: 8,459.49;
12/12/2017           5108      STOP PAYMENT: WINICK, MICHAEL       Account Number: ; Claim #: 110; Dividend: 1.63;            7100-004                             ($11,732.15)            $57,103.85
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   348,787.00;
12/12/2017           5050      STOP PAYMENT: WOODSIDE VILLAGE      Account Number: ; Claim #: 26; Dividend: 0.00;             7100-004                                  ($59.98)           $57,163.83
                               HOA                                 Distribution Dividend: 3.36; Amount Claimed: 1,783.16;
12/12/2017           5091      STOP PAYMENT: WASHINGTON            Account Number: ; Claim #: 89; Dividend: 1.45;             7100-004                             ($10,427.86)            $67,591.69
                               MUTUAL BANK                         Distribution Dividend: 3.36; Amount Claimed:
                                                                   310,011.65;
12/13/2017           5035      STOP PAYMENT: GORDON TERHUNE        Account Number: ; Claim #: 7; Dividend: 0.00;              7100-004                                  ($14.97)           $67,606.66
                               PAINTING/MAINTENACE                 Distribution Dividend: 3.36; Amount Claimed: 445.00;
12/14/2017           5084      STOP PAYMENT: SCITON INC            Account Number: ; Claim #: 77; Dividend: 0.14;             7100-004                               ($1,009.11)           $68,615.77
                                                                   Distribution Dividend: 3.36; Amount Claimed: 30,000.00;
12/14/2017           5129      SCITON INC                          Account Number: ; Claim #: 77; Dividend: 0.14;             7100-000                                 $1,009.11           $67,606.66
                                                                   Distribution Dividend: 3.36; Amount Claimed: 30,000.00;
                                                                   REPLACEMENT CHECK
12/14/2017           5130      JAMES P. BLASINGAME FAMILY          Account Number: ; Claim #: 49; Dividend: 0.14;             7100-000                                 $1,042.75           $66,563.91
                               TRUST                               Distribution Dividend: 3.36; Amount Claimed: 31,000.00;
                                                                   REPLACEMENT CHECK
12/14/2017           5130      VOID: JAMES P. BLASINGAME                                                                      7100-003                               ($1,042.75)           $67,606.66
                               FAMILY TRUST
12/14/2017           5131      WOODSIDE VILLAGE HOA                Account Number: ; Claim #: 26; Dividend: 0.00;             7100-000                                   $59.98            $67,546.68
                                                                   Distribution Dividend: 3.36; Amount Claimed: 1,783.16;
                                                                   REPLACEMENT CHECK
12/14/2017           5132      WINICK, MICHAEL                     Account Number: ; Claim #: 110; Dividend: 1.63;            7100-000                               $11,732.15            $55,814.53
                                                                   Distribution Dividend: 3.36; Amount Claimed:
                                                                   348,787.00;
                                                                   REPLACEMENT CHECK

                                                                                                                             SUBTOTALS                $0.00       ($11,770.13)
                                       Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04             Doc 1276           Pg. 61Page
                                                                                                                                                           ofNo: 30                 Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                Trustee Name:                      Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                          Bank Name:                         East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                  Checking Acct #:                  ******0029
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                    DDA
For Period Beginning:             9/10/2007                                                                                   Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                5/21/2018                                                                                   Separate bond (if applicable):

       1                2                                3                                         4                                               5                6                       7

   Transaction       Check /                         Paid to/              Description of Transaction                          Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                      Received From                                                               Tran Code            $                $


12/14/2017           5133      GORDON TERHUNE                       Account Number: ; Claim #: 7; Dividend: 0.00;              7100-000                                   $14.97            $55,799.56
                               PAINTING/MAINTENACE                  Distribution Dividend: 3.36; Amount Claimed: 445.00;
                                                                    REPLACEMENT CHECK
12/14/2017           5134      JAMES P. BLASINGAME MD IRA           Account Number: ; Claim #: 49; Dividend: 0.14;             7100-000                                 $1,042.75           $54,756.81
                               ROLLOVER                             Distribution Dividend: 3.36; Amount Claimed: 31,000.00;
                                                                    REPLACEMENT CHECK
01/04/2018           5135      SUSAN (SUZY) FIG                     Account Number: ; Claim #: 111; Dividend: 1.48;            7100-000                               $10,655.80            $44,101.01
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    316,788.00;
                                                                    REISSUED CHECK
01/04/2018           5136      Mignon Walker Marquina;              Account Number: ; Claim #: 53; Dividend: 4.04;             7100-000                               $28,995.09            $15,105.92
                                                                    Distribution Dividend: 3.36; Amount Claimed:
                                                                    862,000.00;
                                                                    REISSUED CHECK PER AMENDED CLAIM
01/10/2018           5082      STOP PAYMENT: HIGH COUNTRY           Account Number: ; Claim #: 75; Dividend: 0.00;             7100-004                                  ($36.50)           $15,142.42
                               WEST PROPERTY OWNERS A               Distribution Dividend: 3.36; Amount Claimed: 1,085.00;
01/10/2018           5093      STOP PAYMENT: GASLAMP CITY           Account Number: ; Claim #: 91; Dividend: 0.05;             7100-004                                 ($370.65)           $15,513.07
                               SQUARE PROPERTY OWNERS               Distribution Dividend: 3.36; Amount Claimed: 11,019.14;
01/15/2018           5137      HIGH COUNTRY WEST PROPERTY           Account Number: ; Claim #: 75; Dividend: 0.00;             7100-000                                   $36.50            $15,476.57
                               OWNERS A                             Distribution Dividend: 3.36; Amount Claimed: 1,085.00;
                                                                    REISSUED CHECK
02/07/2018           5138      FRANCHISE TAX BOARD                  CLAIM NO 127-2                                             2820-000                                  $800.00            $14,676.57




                                                                                                                              SUBTOTALS                $0.00        $41,137.96
                                       Case 07-04977-LT7          Filed 06/13/18          Entered 06/13/18 15:00:04                    Doc 1276            Pg. 62Page
                                                                                                                                                                   ofNo: 31                Exhibit 9
                                                                                           FORM
                                                                                              63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         07-04977-LT7                                                                                       Trustee Name:                       Leslie T. Gladstone
 Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                                 Bank Name:                          East West Bank
Primary Taxpayer ID #:            **-***4349                                                                                         Checking Acct #:                    ******0029
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                      DDA
For Period Beginning:             9/10/2007                                                                                          Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                5/21/2018                                                                                          Separate bond (if applicable):

       1                2                                3                                          4                                                      5                 6                     7

   Transaction       Check /                         Paid to/               Description of Transaction                                Uniform           Deposit        Disbursement             Balance
      Date            Ref. #                      Received From                                                                      Tran Code            $                 $


04/02/2018           5139      US BANKRUPTCY COURT                  UNCLAIMED FUNDS                                                      *                                    $14,676.57                  $0.00
                                                                                                                        $(651.07)    5800-001                                                             $0.00
                                                                                                                        $(284.55)    7100-001                                                             $0.00
                                                                                                                        $(672.74)    7100-001                                                             $0.00
                                                                                                                           $(6.13)   7100-001                                                             $0.00
                                                                                                                        $(196.70)    7100-001                                                             $0.00
                                                                                                                      $(10,427.86)   7100-001                                                             $0.00
                                                                                                                        $(370.65)    7100-001                                                             $0.00
                                                                                                                       $(1,966.87)   2820-001                                                             $0.00
                                                                                                                        $(100.00)    2820-001                                                             $0.00

                                                                                      TOTALS:                                                         $1,321,199.41       $1,321,199.41                   $0.00
                                                                                          Less: Bank transfers/CDs                                      $491,002.41               $0.00
                                                                                      Subtotal                                                          $830,197.00       $1,321,199.41
                                                                                          Less: Payments to debtors                                           $0.00               $0.00
                                                                                      Net                                                               $830,197.00       $1,321,199.41



                     For the period of 9/10/2007 to 5/21/2018                                                   For the entire history of the account between 01/10/2014 to 5/21/2018

                     Total Compensable Receipts:                    $830,197.00                                 Total Compensable Receipts:                               $830,197.00
                     Total Non-Compensable Receipts:                      $0.00                                 Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                  $830,197.00                                 Total Comp/Non Comp Receipts:                             $830,197.00
                     Total Internal/Transfer Receipts:              $491,002.41                                 Total Internal/Transfer Receipts:                         $491,002.41


                     Total Compensable Disbursements:              $1,321,199.41                                Total Compensable Disbursements:                        $1,321,199.41
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $1,321,199.41                                Total Comp/Non Comp Disbursements:                      $1,321,199.41
                     Total Internal/Transfer Disbursements:                $0.00                                Total Internal/Transfer Disbursements:                          $0.00
                                       Case 07-04977-LT7          Filed 06/13/18         Entered 06/13/18 15:00:04           Doc 1276             Pg. 63Page
                                                                                                                                                          ofNo: 32                 Exhibit 9
                                                                                          FORM
                                                                                             63 2
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         07-04977-LT7                                                                              Trustee Name:                         Leslie T. Gladstone
Case Name:                       CREATIVE CAPITAL LEASING GROUP LLC                                                        Bank Name:                            East West Bank
Primary Taxpayer ID #:           **-***4349                                                                                Checking Acct #:                      ******0029
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                        DDA
For Period Beginning:            9/10/2007                                                                                 Blanket bond (per case limit):        $1,000,000.00
For Period Ending:               5/21/2018                                                                                 Separate bond (if applicable):

      1                 2                                3                                         4                                              5                  6                     7

  Transaction        Check /                         Paid to/              Description of Transaction                       Uniform            Deposit         Disbursement             Balance
     Date             Ref. #                      Received From                                                            Tran Code             $                  $




                                                                                                                                                                         NET              ACCOUNT
                                                                                     TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE             BALANCES

                                                                                                                                            $3,941,424.88       $3,941,424.88                     $0.00




                     For the period of 9/10/2007 to 5/21/2018                                           For the entire history of the case between 10/10/2008 to 5/21/2018

                     Total Compensable Receipts:                   $3,939,640.81                        Total Compensable Receipts:                             $3,939,640.81
                     Total Non-Compensable Receipts:                   $3,103.07                        Total Non-Compensable Receipts:                             $3,103.07
                     Total Comp/Non Comp Receipts:                 $3,942,743.88                        Total Comp/Non Comp Receipts:                           $3,942,743.88
                     Total Internal/Transfer Receipts:             $2,449,246.49                        Total Internal/Transfer Receipts:                       $2,449,246.49


                     Total Compensable Disbursements:              $3,942,743.88                        Total Compensable Disbursements:                        $3,942,743.88
                     Total Non-Compensable Disbursements:                  $0.00                        Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:            $3,942,743.88                        Total Comp/Non Comp Disbursements:                      $3,942,743.88
                     Total Internal/Transfer Disbursements:        $2,449,246.49                        Total Internal/Transfer Disbursements:                  $2,449,246.49




                                                                                                                        /s/ LESLIE T. GLADSTONE
                                                                                                                        LESLIE T. GLADSTONE
